 

 

Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 1 of dhiea

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02/24/2022
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THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA

JANE DOE

c/o Jackson and Associates Law Firm
1300 Caraway Court #100

Upper Marlboro, MD 20774

Plaintiff,
VS

DUKE ELLINGTON SCHOOL
OF THE ARTS PROJECT
3500 R StNW
Washington, DC 20007

And

RORY PULLENS, Principal
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

MITZI YATES, Principal
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

MARK A. WILLIAMS, Teacher
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

Serve All Duke Ellington Staff and School
Officials On Registered Agent:

Cliff Bowen
3500 R St. NW
Washington, DC 20007

DISTRICT OF COLUMBIA
PUBLIC SCHOOL SYSTEM
1200 First Street, NE
Washington, DC 20002

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CASE NO.:

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Serve On:

Chancellor, Dr. Lewis Ferebee
1200 First Street, NE, 10th Floor
Washington, DC 20002

And

DISTRICT OF COLUMBIA

A MUNICIPAL CORPORATION

1350 PENNSYLVANIA AVENUE, NW
WASHINGTON, DC 20004

Serve on the Mayor & Mayor's Designee:
The Honorable Muriel Bowser
Mayor, District of Columbia
or Designees
Chad Copeland, Stephanie Litos or
Tonia Robinson
John Wilson Building
1350 Pennsylvania Avenue, NW
Washington, DC 20004

The Honorable Karl Racine
Attorney General, District of Columbia
or Designees
Chad Copeland, Stephanie Litos or
Tonia Robinson
441 4th St. NW RM 6005S
Washington, DC 20001

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Defendants.

 

COMPLAINT

 

Plaintiff Jane Doe, by and through Dawn Jackson, Esquire, and Jackson & Associates
Law Firm, LLC, and Howard Haley, Esquire, and the Haley Firm, PC hereby sues Defendants
Duke Ellington School of the Arts Project (hereinafter referred to as “DESAP” or “Duke

Ellington”), Acting Principal Rory Pullens (hereinafter referred to as “Pullens”), Principal

 
 

 

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Mitzi Yates (hereinafter “Yates”) and Mark Williams (hereinafter referred to as “Williams”)
and District of Columbia Public School System (hereinafter referred to as “DCPS”), and
District of Columbia (hereinafter “District”) states as follows:

Parties

1. Defendant District of Columbia (District) is a municipal corporation responsible for
the administration of governmental functions affecting the District of Columbia, and
was at all times relevant to this cause of action responsible for the Plaintiff minor
child as a public school student at the Duke Ellington School of the Arts Project
(DESAP).

2. Atall times relevant, Defendant District was responsible for the education,
discipline, welfare and safety, and the supervision of students, and for establishing
the operational rules, regulations and policies, including non-discrimination
standards, guidelines and rules and for enforcing the rules, regulations, standards,
guidelines and policies at the schools. The Defendant District was also responsible
for training and supervising teachers and for ensuring that its teachers, counselors
and officers and personnel obey the rules, regulations and policies and the laws of
the District of Columbia and the United States. The Defendant was also responsible
for creating a welcoming, safe, and educationally appropriate environment for all
students.

3. Defendant District of Columbia Public Schools (DCPS) is the agency within the
District of Columbia responsible for the education and welfare of students in the

District of Columbia who, operate and manage K-12 schools in the District and its

 
 

 

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Chancellor is in charge of the schools (including their affiliates), their students and
staff discipline, welfare and safety, and the supervision of students, teachers and
other personnel. Defendant is directly responsible for establishing and
implementing policies, managing, supervising, and maintaining all of the public
schools within the school system.

. The Defendant DCPS is the official policy making body of the District of Columbia’s
Public Schools System and was at all times relevant to this cause of action,
responsible for the administration of the public school system in the District of
Columbia, and it executes this responsibility through its agent, the Chancellor.

. In 1999, the Duke Ellington School of the Arts Project (DESAP), an independent
501(c)(3) organization governed by its own board of directors and comprised of the
DC Public Schools (DCPS), the Ellington Fund, the John F. Kennedy Center for the
performing Arts (The Kennedy Center) and The George Washington University (GW
U) was created. The board includes a member from each entity. The Board governs
all operations of DESAP pursuant to the sole source contracts administered by DCPS.
. Defendant DESAP is a public secondary school located in the District of Columbia
that receives federal funding. Defendants DCPS managed, operated, maintained, and
controlled the subject property known as “Duke Ellington School of the Arts” located
at 3500 R St NW, Washington, DC 20007 and its common areas.

. Defendant DCPS managed the contracts for DESAP that employed agents, teachers,
educators, employees, officers, staff, administrators, representatives and servants;

DCPS policy bound DESAP agents, teachers, educators, employees, officers, staff,

 
 

 

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administrators, representatives, and/or servants pursuant to the contracts; DCPS
policy determined the qualifications or lack of qualifications of said agents,
employees, officers, staff, administrators, representatives, and servants pursuant to
the contracts.

JURISDICTION AND VENUE
This Court has jurisdiction over the subject matter of this Complaint pursuant to 28
U.S.C. § 1331.
Venue is proper in this Court since the events giving rise to the Plaintiffs claims

occurred in the District of Columbia.

10. Notice pursuant to DC Code 12-309 was provided by virtue of a District Police

Report filed November 15, 2004

ALLEGATIONS COMMON TO ALL COUNTS

11. Plaintiff was a minor who was the victim of unlawful intentional sexual battery,

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statutory rape and other acts of sexual misconduct, sexual harassment and is being
identified by this pseudonym to protect her privacy.

The actual identity of the Plaintiff is known to the Defendants.

Defendants devised all policies, programs, and/or activities for the aforementioned
agents, teachers, educators, employees, staff, administrators, representatives and
servants, and/or residents of the community, and said agents, teachers, educators,
employees, staff, administrators, representatives and servants, worked in a common

effort for the benefit for the aforementioned Defendants.

 
 

 

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14. Defendants Pullens and Yates were employed as Principal/Acting Principal for
Defendant Duke Ellington - all staff, teachers, and educators at DESAP are
mandatory reporters per the student handbook.

15. Defendant Williams was also employed by Defendant DESAP as a teacher at Duke
Ellington.

16. Defendants (DESAP and DCPS) did not require Defendant Williams to undergo a
background check as all other public-school teachers in the District of Columbia are
required to complete.

17. Defendants (DESAP and DCPS) did not require Defendant Williams to possess or
obtain a teaching license. Defendant Williams was an educator who taught at DESAP
for more than 18 yrs.

18.DESAP has publicly acknowledged that they failed to keep any HR records
(including, but not limited to: reports of misconduct, internal reprimands,
investigations, or sanctions) for personnel prior to 2017.

19. Due to the unique relationship between DESAP and DCPS, Defendant Williams was
able to avoid scrutiny for his inappropriate acts.

20. During the 2001-2005, school year, Defendant Williams was the Literary Media &
Communications (then Literary Media Arts) Department Chair at Duke Ellington
while Plaintiff was a student.

21.In late spring before Plaintiff's junior year, she approached Defendant Williams

about joining his department and was subsequently accepted.

 
 

 

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22. Prior to Plaintiff's acceptance to the department, Defendant Williams asked, “Will |
have any angry parents to deal with?” as a condition of her acceptance to the
department.

23.Defendant Williams suggested that Plaintiff work with him over the summer for
private sessions to bring her current with the curriculum in his department before
the school year commenced.

24. Defendant Williams met with Plaintiff alone at a local Starbucks during the summer
private sessions. Plaintiff was unsure if the meetings were appropriate but
understood that it was a requirement for her to graduate.

25. Once Plaintiff started her junior year, she continued to receive special attention and
additional assignments from Defendant Williams. There were meetings in his office
after school as well.

26.Soon thereafter, Defendant Williams began to speak and write about personal
matters to Plaintiff under the pretense that it was consistent with her independent
study/ “schoolwork.”

27.There was one occasion that Defendant Williams used his position as a teacher to
have Plaintiff try on outfits for a theatrical production privately in his office at Duke
Ellington. Defendant Williams was the only faculty present in direct violation of
DCPS policy.

28. At the end of Plaintiffs junior year, Defendant Williams sent Plaintiff his writing
about his personal experiences and fantasies that were sexually explicit.

29. During the summer before Plaintiff's senior year, Plaintiff and Defendant Williams,

 
 

 

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would regularly have extensive phone conversations late into the night (sometimes
until 4:00 a.m.) - having phone sex while Defendant Williams drank alcohol and
smoked cigarettes on his front porch. These inappropriate calls were in direct
violation of DCPS policy.

30.In addition, Plaintiffs summer before her senior year, Plaintiff started to drink
heavily because she was upset and confused about the relationship with Defendant
Williams. She was inconsolable about her feelings and confused because she
believed that she was “in love” with her teacher who was married.

31. Defendant Williams would provide strong alcoholic drinks (mostly gin and tonics)
to the Plaintiff at his home.

32. At one point, Plaintiff became suicidal. One of her friends called 911 and Plaintiff
initially was taken to Sibley Hospital and later admitted to Psychiatric Institute of
Washington (PIW) in Washington, D.C.

33. During her stay in the hospital, Defendant Williams was on the approved call log
but some of the staff noticed and witnessed their inappropriate conversations (i.e.
that they were not “teacher-student” in nature) and immediately removed him from
her approved callers list, effectively stopping the communication between the
parties to help Plaintiff's mental health and stability.

34. Plaintiff missed the first day of school as a result of her admission to PIW. However,
she was forced to return to Defendant Williams’ classes after her discharge.

Defendant Williams used his position of authority and persuaded Plaintiff to

 
 

 

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participate in inappropriate sexual activities while on and off Duke Ellington’s
premises.

35. Defendant Williams would take Plaintiff on “dates” to a local restaurant and pub
located in Arlington, VA.

36. Defendant Williams also transported Plaintiff to his brother’s home in VA for the
purpose of having sexual relations with Plaintiff.

37.During this time period, Defendant Williams was ineffectively supervised and
ineffectively monitored in accordance with DESAP and DCPS policies.

38.A parent of a student informed Defendant Yates that Plaintiff and Defendant
Williams were involved in a sexual relationship.

39. Additionally, other staff members have revealed that they also heard of an
inappropriate relationship between Defendant Williams and Plaintiff which was
subsequently reported to Defendant Yates.

40. That, Defendant Yates shared this information with Father Payne of Duke Ellington
on November 15, 2004, The next day, November 16, 2014, Father Payne filed a
complaint with the DC police (MPD) regarding the inappropriate relationship. See
Exhibit A.

41.As a result of the police being notified, Defendant Williams was placed on
Administrative Leave by Defendant Yates.

42.A male arrived at Plaintiffs home, who questioned her in front of her parents and

brother, and as a result of being “in love” and embarrassed in front of her family,

 
 

 

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Plaintiff felt compelled to deny the allegations. It is currently unclear who sent this
individual to the home of the Plaintiff.

43. Defendants District, DCPS, and DESAP, records related to the events alleged have
been requested from all Defendants; however, all have stated they have no records
regarding any investigation.

44. It has since been reported that Defendant Williams was placed on Administrative
Leave on more than one occasion by DESAP for the same or similar behavior.

45.Soon thereafter, Defendant Williams instructed Plaintiff to immediately delete all
phone, email, and text messages.

46. During this time, Defendant Williams forced Plaintiff to communicate with him via
pay phone to protect Defendant Williams during the alleged investigation.

47. Once the other students discovered the Defendant Williams was on Administrative
Leave, the students began to harass Plaintiff and made her life at school unbearable.

48. The harassment intensified to the point that Plaintiff emailed her poetry teacher,
Kenneth Carroll, and begged him to stop his “pet students” from harassing her (e.g.,
threatening to jump her, overall physical harm), to no avail.

49. Unfortunately, the hostile classroom environment remained for Plaintiff in each of
her arts block classes until her graduation.

50. Plaintiff was never interviewed by Defendant Duke Ellington about the sexual
relationship with Defendant Williams.

51. Plaintiff is not aware if Defendant Duke Ellington ever interviewed any teachers or

any of her friends about the sexual allegations with Defendant Williams.

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52. There is no evidence that any formal investigation pursuant to Title IX was ever
conducted by DESAP. *It is believed that an internal DESAP review was conducted
that resulted in an “inconclusive” decision - with no interview of the Plaintiff, her
friends, or other faculty who had relevant information.

53. Following the alleged investigation, Plaintiff was not removed from Defendant
Williams’ classes, but was forced to maintain classes with her abuser - this was a
direct violation of Title IX. His harassment continued until Plaintiff was a junior in
college.

54. Pursuant to D.C. Code Ann. § 4-1321.02, a mandated reporter is someone “who
knows or has reasonable cause to suspect that a child known to him or her in his or
her professional or official capacity has been or is in immediate danger of being a
mentally or physically abused or neglected child.”

55. Even though this abuse was reported to DESAP and DC officials, Defendant Williams
was never completely and thoroughly investigated pursuant to the Anti-Sexual
Abuse Act of 1994 (D.C. Law 10-257; D.C. Official Code § 22-3020.51(4)).

56.Sometime in 2020, Duke Ellington students Shanya Taylor and Makayla Hyatt
started an online petition intended to expose and bring awareness to Duke
Ellington’s policies and behaviors that created or encouraged a hostile environment

with a prevalence of sexual abuse. See https: / fwww.change ore /p /daaa-we-need-

 

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57.A number of students detailed their own sexual abuse and harassment and
identified Duke Ellington and key faculty members as being influential in the
coverups of sexual assaults on the aforementioned petition.

58. During the pattern of grooming and the escalation of Defendant Williams’ sexual
advances, Plaintiff, as a minor, did not understand the severity of Defendant
Williams’ behavior, felt helpless and believed that allowing Defendant Williams’
sexual advances was in her best interests.

59. Defendant Williams’ exploited the opportunities created by Defendants DCPS and
Duke Ellington to complete his grooming, sexual harassment, and sexual abuse of
Plaintiff, some of which occurred on school grounds. Each of these acts were in
direct violation of DESAP policy, in direct violation of DC Law, and direct violation of
Title IX.

60. Defendants DCPS and Duke Ellington are responsible for providing public education
to minor female students, including Plaintiff, through (a) oversight and supervision
of all school functions, school property and school student programs; and (b) the
hiring, supervision, management, assignment, control and regulation of individuals
who serve as staff members, including but not limited to school teachers and
educators, as well as the review and supervision of curricula developed by the
District of Columbia, schools and teachers as well as those who contract with the
District.

61.Pursuant to the contractual partnership between DESAP and DCPS they are

collectively responsible for all policies and procedures within the school. This

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charge and responsibility includes supervision and discipline of teachers, educators,
contractors, and administrators, including but not limited to, Defendant Williams.
Plaintiff's sexual abuse occurred while Plaintiff was under the control and direction
of Defendant Williams, in areas of the school to which Defendant Williams had
access by virtue of his employment. Defendant Williams was bound by the policies
of DCPS pursuant to the contract that includes those who contract with the District.
Duke Ellington fostered a culture where teachers sexually groomed and abused

students over the years. See the attached police reports. See Exhibit B.

64. In 2020, Plaintiff and former Principal Yates had Facebook exchanges where Yates

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admitted and acknowledged Defendant Williams had been a problem in 2004 but
due to confidentially she couldn’t give all the details.

Despite allegations of Defendant Williams’ inappropriate relationship with Plaintiff,
Defendant Duke Ellington nevertheless: (a) permitted Defendant Williams to have
unsupervised access to various rooms and areas of the school; (b) permitted
Defendant Williams to have unsupervised contact with students after school hours;
(c) did not competently investigate the complaints of students and others about
Defendant Williams’ conduct; (d) did not disclose to the students, including Plaintiff,
the concerns about Defendant Williams; (e) failed to comply with the duties set
forth in District policies and procedures and federal law; (f) failed to remove
Plaintiff from Defendant Williams’ classes after being made aware of Plaintiff's
sexual abuse by Defendant Williams; (g) were deliberately indifferent to the safety,

security and well-being of students at Duke Ellington, including but not limited to

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Plaintiff; (j) prevented students, including Plaintiff, from receiving an education
without a condition of such education being sexual harassment, sexual grooming
and sexual abuse; and, (k) promoted school policies that fostered a climate to
flourish where innocent students, including Plaintiff, were victims of sexual abuse.
COUNT I
(Title IX, 20 U.S.C. §1681, et seq. - All Defendants)

66. Plaintiff incorporates her previous allegations as if fully rewritten herein.

67. Title IX of the Education Amendments of 1972 requires that “No person...shall,
on the basis of sex, be excluded from participation in, be denied the benefits of,
or be subjected to discrimination under any education program or activity
receiving Federal financial assistance...”

68. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual notice of
liability under Title IX for teacher-on-student sexual harassment, sexual
grooming, sexual discrimination, and sexual abuse.

69. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual knowledge of
Williams’ sexual harassment, sexual grooming, sexual discrimination and sexual
abuse of students.

70. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual knowledge that

Williams had a high potential to sexually abuse female students.

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71. Plaintiff in 2003-2005, was subjected to discrimination in her education at Duke
Ellington based on her gender in that she suffered teacher-on-student sexual
harassment, sexual grooming and sexual abuse as a condition of her receipt of
education at Duke Ellington.

72. Duke Ellington failed to take appropriate corrective action, thereby acting with
deliberate indifference to the rights and safety of Plaintiff.

73.Defendants possessed actual knowledge of the allegations of Defendant
Williams’ sexual harassment, sexual grooming, sexual discrimination, and sexual
abuse of students.

74. Defendants District of Columbia, DCPS, Duke Ellington Yates (and subsequently
Pullens) possessed actual knowledge that Defendant Williams had ample
opportunity to sexually abuse students when there was a noted lack of other
faculty present in remote areas of the school or during events after school hours.

75. Plaintiff between 2003-2005, was subjected to discrimination in her education
at Duke Ellington based on her gender in that she suffered teacher-on-student
sexual harassment, sexual grooming, sexual abuse, and inappropriate contact as
a condition of her receipt of an education at Duke Ellington.

76. Defendants District of Columbia, DCPS, Duke Ellington and Yates (and
subsequently Pullens) failed to take appropriate corrective action, thereby
acting with deliberate indifference to the rights and safety of Plaintiff in one or
more of the following ways: (a) failing to report teacher-on-student sexual

harassment, sexual grooming and sexual abuse to appropriate authorities; (b)

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failing to cure or even attempt to cure obvious and known risks to minor female
students at Duke Ellington placed under Defendant Williams’ supervision and
authority; (c) failing to communicate any precautions, directives or educational
materials that might be utilized between parent and child to identify
inappropriate conduct that occurred between any student and adult, whether
generally or specifically in relation to Defendant Williams; and, (d) allowing
Defendant Williams to have unsupervised contact with minor female students,
including Plaintiff, without conducting, documenting and concluding a
competent investigation into the allegations and specific facts brought to light
prior to that time.

77.The deliberate indifference, actions and omissions described above caused
Plaintiff to suffer criminal sexual harassment and abuse by Defendant Williams.

78. Title IX requires Defendants DCPS, and Duke Ellington to provide educational
opportunity on an equal basis to all students regardless of their gender.

79. Defendants DCPS failed to comply with Title IX in that despite prior allegations
of misconduct, Defendants continued to allow Defendant Williams unsupervised
access to minor female students and access to certain rooms and areas where
Defendant Williams had the privacy to carry out the sexual abuse of minor
female students, including Plaintiff.

80. 20 U.S.C. § 1981 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as

within the remedies available in an action brought pursuant to 20 U.S.C. § 1981.

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81.As a direct and proximate result of the conduct of Defendants District of
Columbia, DCPS, Duke Ellington and Pullens as described herein, Plaintiff has
sustained severe and permanent bodily injury, sickness and/or disease,
including but not limited to sleep disturbance, nightmares, depression,
posttraumatic stress disorder, fatigue, social anxiety, anger, panic attacks, mood
disorder, and as a result thereof she has and will continue to experience: (a)
physical and mental pain and suffering; (b) emotional distress; (c) loss of a
normal life; (d) medical and counseling expenses; and (e) lost wages.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the
extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT II
(42 U.S.C. § 1983- Pullens & Yates)

82. Plaintiff incorporates her previous allegations as if fully rewritten herein.

83. Duke Ellington is a quasi-governmental entity due to its partnership with DCPS
(an agency with the District of Columbia) that has a governing interest in its
supervisory board.

84. Duke Ellington exists as a public school that has a majority of its funding from
the District of Columbia through contracts with DCPS that govern its

management and administration.

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85. Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-257; D.C.
Official Code § 22-3020.51(4)) governed the actions of all educational entities in
the District of Columbia including those who contract with the District of
Columbia or its agencies until the passage of the School Safety Omnibus
Amendment Act of 2018. D.C. ACT 22-624, enacted 2019 and effective School
Year 2020. Defendant Yates and subsequently Pullens failed to take any
appropriate action to remove the Plaintiff from the scope of immediate danger
and forced her to remain in the harmful cone of danger with her alleged abuser
in direct violation of these laws.

86. Pursuant to law, all teachers and staff of Duke Ellington are required to act
pertaining to the safety and security of students. Administration is charged with
ensuring that all faculty comply with DCPS policies, regulations, and school
handbook policy.

87. Defendants Pullens and Yates were acting under the color of these statutes and
policies in their capacity as an official(s) with the authority to take action against
Defendant Williams.

88. During Plaintiffs abuse by Defendant Williams, Defendants Pullens and Yates
knew or reasonably should have known (based on the allegations they had
received) that Defendant Williams exhibited dangerous propensities and was a
threat of harm to students, including Plaintiff.

89. Upon information and belief, Defendants Pullens and Yates were uniquely aware

of Defendant Williams’ propensity to commit acts of sexual harassment, sexual

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grooming, sexual abuse and/or misconduct against Plaintiff. Therefore,
Defendant Williams’ continued misconduct - and the harm that was likely to
result from that misconduct - was foreseeable.

90. Defendants Pullens and Yates were uniquely aware that Defendant Williams had
used Duke Ellington’s property to perpetuate acts of sexual harassment, sexual
grooming, sexual abuse and misconduct against students to which Defendant
Williams had access by and through his employment with the school.

91.Defendants Yates and Pullens turned a blind eye to allegations of sexual
harassment, sexual grooming, and sexual abuse, along with ignoring complaints
and failing to respond to allegations of misconduct in accordance with the law,
Title IX, and DCPS policy, in addition to acting with deliberate indifference to the
rights of minor female students, including Plaintiff.

92. Plaintiff was deprived of her constitutional liberty and equal protection interests
under the Fourteenth Amendment by Defendants Yates’ and Pullens’ failure to
restrict, reduce, or report Defendant Williams’ actions that fostered a hostile
educational climate where minor female students, including Plaintiff, were left
vulnerable and subject to sexual abuse, sexual grooming and sexual harassment
by Defendant Williams, an agent, servant and/or employee of Duke Ellington
through the contracts with DCPS. *It is noted that Father Payne did make a
report to DC Metropolitan Police Department on November 15, 2004.

93.The conduct of Defendants Yates and Pullens was arbitrary and offensive,

shocking the conscience and interfering with minor female students’ rights and

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liberties granted by the constitution and protected by law, including the
Plaintiffs.

94.42 U.S.C. § 1983 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as
within the remedies available in an action brought pursuant to 42 USC § 1983.

95. As a direct and proximate result of the conduct of Defendants Yates and Pullens
as described herein, Plaintiff has sustained severe and permanent bodily injury,
sickness and/or disease, including but not limited to sleep disturbance,
nightmares, depression, post-traumatic stress disorder, fatigue, social anxiety,
anger, panic attacks and as a result thereof she has and will continue to
experience to experience: (a) physical and mental pain and suffering; (b)
emotional distress; (c) loss of a normal life; (d) medical and counseling
expenses; and (e) lost wages.

96. The conduct of Defendants Yates and Pullens constituted a violation of trust or
confidence, showing complete indifference to or conscious disregard for the
safety and well-being of Plaintiff and other minor female students.

97. Justice and the public good require an award of punitive or exemplary damages
in such sum which will serve to punish Defendants Yates and Pullens and to
deter similar conduct by others.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT Il
(42 U.S.C § 1983- Duke Ellington)

98. Plaintiff incorporates her previous allegations as if fully rewritten herein.

99. Duke Ellington is a quasi-governmental entity due to its partnership with the
DCPS (an agency with the District of Columbia) that has a governing interest in
its supervisory board.

100.Duke Ellington exists as a public school that has a majority of its funding from
the District of Columbia through contracts with DCPS that govern its
management and administration.

101.Upon information and belief, Duke Ellington receives approximately 75% of its
funding via sole source contracts with DCPS. According to the Kennedy Center -
a partner of DESAP - “the school is managed and operated by The Kennedy
Center, George Washington University and the Ellington Fund under a contract
with District of Columbia Public Schools (DCPS) titled the Duke Ellington School
of the Arts Project.”

102.Duke Ellington established, through both action and inaction, a widespread
policy, practice or custom of allowing sexual harassment, sexual grooming,
sexual abuse and misconduct to continue to occur without corrective action.

103.Such policy, practice or custom includes, but is not limited to: (a) failing to

report teacher-on-student sexual harassment, sexual grooming and sexual abuse

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and to appropriate authorities as required by law and policy; (b) failing to cure
or even attempt to cure obvious and known risks to minor female students at
Duke Ellington placed under Defendant Williams’ supervision and authority; (c)
failing to communicate any precautions, directives or educational materials that
might be utilized between parent and child to identify inappropriate conduct
that occurred between any student and adult, whether generally or specifically
in relation to Defendant Williams; (d) allowing Defendant Williams to have
unsupervised contact with minor female students, including Plaintiff, without
conducting, documenting and concluding a competent investigation into the
allegations and specific facts brought to light prior to that time; (e) allowing
Defendant Williams to have unsupervised access to various rooms and areas at
Duke Ellington while having absolutely no effective plan for supervision or
surveillance of Defendant Williams.

104.Defendants Duke Ellington employed policies, practices and customs which
fostered a climate facilitating sexual abuse of minor female students by
Defendant Williams. This evidenced a reckless disregard and/or a deliberate
indifference to the consequences that such policies had on minor female
students at Duke Ellington, including Plaintiff.

105.Duke Ellington board of Directors (which include DCPS Officials and Defendant
Williams) and administrators, had final policymaking authority of Duke Ellington
and exercised that granted authority to Defendants Yates and Pullens in

particular, in making decisions that perpetuated and/or allowed the sexual

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abuse of Plaintiff by Defendant Williams and caused Plaintiff's harm to occur
and/or continue.

106.Duke Ellington and all of its faculty are mandated reporters pursuant to D.C.
Code Ann. § 4-1321.02, and are required to report allegations and suspicions of
child abuse to the Child and Family Services Agency or Metropolitan Police
Department. The student handbook fosters a special relationship between Duke
Ellington faculty and the students because they are advised that mandatory
reporting will occur.

107.The Duke Ellington faculty are mandatory reporters under the law; therefore,
they are acting under the color of law in their capacity as educators of the
District of Columbia.

108.Pursuant to Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-
257; D.C. Official Code § 22-3020.51(4)) and School Safety Omnibus Amendment
Act of 2018. D.C. ACT 22-624, all educational entities in the District of Columbia
were charged with the duty to protect all students from any potential sexual
abuse. They were effectively mandated agents of the District of Columbia as a
condition of their existence within the city’s border. Every action or failure to
act under these statutes were actions under the color of law.

109.Plaintiff was deprived of her constitutional liberty interest and equal protection
under the Fourteenth Amendment by Duke Ellington by Duke Ellington’s
creation and promotion of policies, customs, or practices that fostered a climate

to flourish where minor female students, including Plaintiff, were left vulnerable

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to and actually were subject to sexual abuse by Defendant Williams, an agent,
servant and/or employee of Duke Ellington.

110.Duke Ellington’s conduct was arbitrary and offensive, shocking the conscience
and interfering with minor female students’, including Plaintiffs, rights and
liberties granted by the Constitution and protected by law.

111.42 U.S.C. § 1983 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as
within the remedies available in an action brought pursuant to 42 U.S.C § 1983.

112.As a direct and proximate result of the conduct of Duke Ellington as described
herein, Plaintiff has sustained severe and permanent bodily injury, sickness
and/or disease, including but not limited to sleep disturbance, nightmares,
depression, posttraumatic stress disorder, mood disorder, fatigue, social anxiety,
anger, panic attacks and as a result thereof she has and will continue to
experience: (a) physical and mental pain and suffering; (b) emotional distress;
(c) loss of normal life; (d) medical and counseling expenses; and (e) lost wages.

113.The conduct of Duke Ellington constitutes a violation of trust or confidence,
showing complete indifference to or conscious disregard for the safety and well-
being of Plaintiff and other minor female students.

114.Justice and the public good require an award of punitive or exemplary damages
in such sum that will serve to punish Duke Ellington and to deter like conduct.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.
COUNT IV
(Negligent Hiring, Training, Supervision and Retention- DCPS and Duke Ellington)
115.Plaintiff incorporates her previous allegations as if fully rewritten herein.
116.While Duke Ellington actually employed Defendants Williams, Pullens and
Yates, DCPS instituted and mandated the policy that governed their employment
via the contracts which bound the school.
117.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to employ qualified and competent
teachers and educators to work within its schools. This duty is even greater in
the context of a public school where parents have a trust and faith in the leaders,
a reliance on those who are chosen to lead, and the school acts in loco parentis.
118.There are no records that indicate that Defendant Williams was ever a licensed
teacher in the District of Columbia.
119.There are no records that indicate that Defendant Williams was ever subjected
to any background check in the District of Columbia.
120.Accordingly, there are reports that educators in the arts departments of Duke
Ellington are not required to have background checks or licenses to teach

students at Duke Ellington.

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121.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically Plaintiff to supervise its employees, servants, and/or
agents with access to its minor female students, including Plaintiff.

122.At all times material, Defendant DCPS and Duke Ellington owed a duty to
properly and effectively supervise its faculty and staff, including Defendant
Williams.

123.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to make an appropriate investigation of its employees,
servants, and/or agents who were in or would be placed in a position to come in
contact with minor female students of DCPS and Duke Ellington.

124.At all times material, Defendants DCPS and Duke Ellington owed a duty to
Plaintiff, to terminate any and all employees, servants and/or agents that it knew
or should have known, had engaged or sought to engage in inappropriate
communication and/or unlawful sexual activities with its minor female students.

125.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to train its employees, servants and/or agents to identify
when an inappropriate sexual relationship with a minor female student is
ongoing or is potentially sought and report it accordingly.

126.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and the Plaintiff to thoroughly investigate any and all reports of
inappropriate sexual relationships between students and faculty members or

staff.

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127.Defendants knew, or in the exercise of reasonable care should have known, that
by allowing Defendant Williams to have unfettered access to female students,
privacy in his classroom, and no supervision, female students at Duke Ellington
were at grave risk for sexual abuse.

128. At all times material, Defendants DCPS and Duke Ellington breached its duty to
Plaintiff in the following ways:

a. Failing to hire competent and qualified employees, servants and/or agents
without proclivities to engage in inappropriate sexual conduct against/with its
minor female students;

b. Failing to hire competent and qualified employees, servants and/or agents with
knowledge and training needed to accurately identify sexual predators like
Defendant Williams and act accordingly;

c. Failing to investigate the fitness for employment of Defendant Williams;

d. Failing to train its employees, servants and/or agents to identify and report
when a member of the Duke Ellington staff is engaging in unlawful sexual
behavior with its minor female students;

e. Failing to supervise Defendant Williams in a proper manner to prevent any
inappropriate sexual conduct toward its minor female students including
Plaintiff;

f. Failing to train its employees, servants and/or agents to identify when an
inappropriate sexual relationship with another employee, servant and/or agent
and a minor female student is ongoing and report it accordingly;

g. Failing to terminate or reassign those employees, servants and/or agents who
were aware of the actions of Defendant Williams against Plaintiff and others but
did nothing to stop or report it;

h. Failing to terminate and/or provide remedial measures to ensure the safety of

students once Defendant Duke Ellington knew or should have known of

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Defendant Williams’ propensities for inappropriate contact with female
students;

i. Failing to properly investigate and reasonably warn students once Defendant
Williams’ propensities were made abundantly clear when he was accused of
having a sexual relationship with Plaintiff;

j. Failing to procure or develop policies and procedures to prohibit sexual
relationships between agents or employees and minor students.

129.As a direct and proximate result of Defendant DCPS and Duke Ellington’s
negligence, Defendant Williams committed sexual battery on Plaintiff, causing
her serious and permanent injuries.

130.As a direct and proximate result of the negligence of DCPS and Duke Ellington,
Plaintiff was sexually battered, raped, traumatized, and caused to suffer mental
pain and suffering, psychological injuries, and the loss of capacity for the
enjoyment of life.

131.As a further direct and proximate cause of the negligence of Defendants DCPS
and Duke Ellington, Plaintiff has incurred in the past medical and psychological
expenses for the treatment of her injuries and will continue to incur such
expenses in the future.

132.As a further direct and proximate cause of the negligence of Defendants DCPS
and Duke Ellington, it is expected that the Plaintiff will also incur lost future
earning capacity as a result of these acts. All of said damages are chronic,
permanent and, thus, continuing in nature.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

 

 

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so

triable as of right by jury.

 

 

COUNT V
(Intentional Infliction of Emotional Distress - All Defendants)

133.Plaintiff incorporates her previous allegations as if fully rewritten herein.

134. To establish a claim for Intentional Infliction of Emotional Distress Plaintiff
must assert that the Defendants conduct was outrageous, that the conduct was
intentional, and that the plaintiff suffered emotional distress as a result.

135.While acting as an agent, employee, staff, administrator, representative, and/or
servant of the Defendants Duke Ellington and DCPS, Defendant Williams
committed sexual misconduct and sexually assaulted Plaintiff his minor female
student.

136.After being notified of Defendant Williams’ sexual abuse of Plaintiff, Defendant
Yates and Pullens willfully and knowingly failed to report the allegations of
sexual abuse to the appropriate agencies as required by law and Title IX.

137.Defendants knowingly, intentionally, and continuously placed Plaintiff Jane Doe
in classes with her abuser Defendant Williams allowing him further access to
abuse her.

138.Moreover, after being informed of the abuse, Defendant Yates and Pullens, as
faculty members tasked with facilitating student emotional development, not

only failed to report as mandated but also failed to simply speak with Plaintiff

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regarding the allegations of sexual abuse or arrange for counseling to ensure her
mental well-being.
139.Defendant Williams’ sexual assault and continuous harassment of Plaintiff and
Defendant Yates’ and Pullens’ failure to report were intentional, willful and
constitute outrageous behaviour.
140.As a direct and proximate result of Defendants’outrageous conduct, Plaintiff has
suffered severe emotional distress with physical manifestations, which will be
substantiated by her medical records and the testimony of medical
professionals.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial
by jury of all issues so triable as of right by jury.
COUNT VI
(Negligence - Against All Defendants)
141.Plaintiff incorporates her previous allegations as if fully rewritten herein.
142.At all times material, Defendants DCPS and Duke Ellington, were required to
comply with Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-
257; D.C. Official Code § 22-3020.51(4)) and subsequently, School Safety
Omnibus Amendment Act of 2018. D.C. ACT 22-624, enacted 2019 and effective

School Year 2020. It appears that the Defendant Duke Ellington employed a new

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Title IX Coordinator who has implemented new training and education of faculty,
staff, and students after reports surfaced in 2022.

143.At all times material, Defendants DCPS and Duke Ellington, were required to
comply with Title IX and ensure that no student was discriminated against on
the basis of gender and that all received an equal educational opportunity under
law.

144.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to employ qualified and competent
teachers and staff to work within its schools.

145.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to properly supervise and monitor
its teachers, staff, and educators, and their access and interactions with students.

146.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to train its employees, servants and/or agents to identify
when an inappropriate sexual relationship with a minor female student is
ongoing or is potentially sought and report it accordingly.

147. At all times material, Defendants DCPS and Duke Ellington breached its duty to
Plaintiff in the following ways:

a. Failing to hire competent and qualified employees, servants and/or agents
without proclivities to engage in sexual battery against its minor female

students;

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b. Failing to hire competent and qualified employees, servants and/or agents with
knowledge and training needed to accurately identify sexual predators like
Defendant Williams and act accordingly;

c. Failing to investigate the fitness for employment of Defendant Williams;

d. Failing to train its employees, servants and/or agents to identify and report
when a member of the Duke Ellington staff is engaging in unlawful sexual
behavior with its minor female students;

e. Failing to supervise Defendant Williams in a proper manner to prevent the
sexual battery against its minor female students including Plaintiff;

f. Failing to train its employees, servants and/or agents to identify when an
inappropriate sexual relationship with another employee, servant and/or agent
and a minor female student is ongoing and report it accordingly;

g. Failing to terminate or reassign those employees, servants and/or agents who
were aware of the actions of Defendant Williams against Plaintiff but did nothing
to stop or report it;

h. Failing to terminate and/or provide remedial measures to ensure the safety of
students once Defendant Duke Ellington knew or should have known of
Defendant Williams’ propensities for inappropriate contact with female
students;

i. Failing to properly investigate and reasonably warn students once Defendant
Williams’ propensities were made abundantly clear when he was accused of
having a sexual relationship with Plaintiff;

j. Failing to procure or develop policies and procedures to prohibit sexual

relationships between agents or employees and minor female students.

148.lt was foreseeable to Defendants Duke Ellington and DCPS, that Defendant

Williams’ conduct would cause Plaintiff harm. Defendants continued to place

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Plaintiff in Defendant Williams’ classes; therefore, causing more harm in direct
violation of Title IX.
149.As a direct, foreseeable and proximate result of the negligence of Defendants
Duke Ellington, DCPS, Yates, and Pullens, Plaintiff Jane Doe sustained serious
injuries, suffered emotional harm and torment and the loss of the capacity for
the enjoyment of life, and continues to receive psychological and medical
treatment.
WHEREFORE, the Plaintiff Jane Doe sues Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the
extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT VI
(Civil Assault and Battery- Williams)

150.Plaintiff incorporates her previous allegations as if fully rewritten herein.

151. The elements of an assault are (1) of an intentional act (2) to cause an
apprehension of harmful or offensive contact that causes (3) apprehension of
such contact in the victim.

152.The elements of battery are: (1) an act by a defendant; (2) an intent to cause
harmful or offensive contact on the part of the defendant; and (3) harmful or

offensive contact to the victim.

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153.Defendant Williams, without privilege to do so, committed an assault and a
battery upon Plaintiff as described above when he had sexual contacts with the
Plaintiff.
154.Plaintiff was a minor who was unable to provide consent under law.
155.As a direct and proximate result of Defendant Williams’ assault and battery,
Plaintiff has suffered the damages outlined above.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial

by jury of all issues so triable as of right by jury.

COUNT VIII
(Gross Negligence -Principals)

156.Plaintiff incorporates her previous allegations as if fully rewritten herein.

157.Gross negligence is defined as “such an extreme deviation from the ordinary
standard of care as to support a finding of wanton, willful and reckless disregard
or conscious indifference for the rights and safety of others.” D.C. v. Walker, 689
A.2d 40 (D.C. App. 1997).

158.The ordinary standard of care for educators such as Defendant Yates and
Pullens is to report any suspicion of child abuse or neglect to either Metropolitan
Police Department or Child and Family Services as mandated by DC Code.D.C.

Code Ann. § 4-1321.02.

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159.Further, DC has statutory requirements for all education professionals to
safeguard the students and protect them from any form of sexual harm. See Anti-
Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-257; D.C. Official
Code § 22-3020.51(4)) and subsequently, School Safety Omnibus Amendment
Act of 2018. D.C. ACT 22-624, enacted 2019 and effective School Year 2020.

160.At all times material, Defendants Yates and Pullens, were required to comply
with Title IX and ensure that no student was discriminated against on the basis
of gender and that all received an equal educational opportunity under law.

161.Defendants Yates and Pullens deviated from that standard of care by failing to
report Defendant Williams’ actions to the authorities and failing to remove
Plaintiff from Defendant Williams’ classroom and authority and protect her from
further sexual abuse by Defendant Williams in direct violation of Title IX.

162.Defendants Yates and Pullens, knowingly and intentionally forced the Plaintiff
to attend classes taught by Defendant Williams after they knew or had reason to
believe that Defendant Williams was alleged to have committed and continued to
commit sexual abuse of a minor Plaintiff.

163.Defendants Yates and Pullens knowing that minor Plaintiff was incapable of
defending herself or having the knowledge to get assistance had possibly been or
was possibly being abused and their failure to report as mandated was wanton,
willful and reckless in disregard of rights and safety of Plaintiff.

164.As a direct and proximate result of Defendant’s wanton and reckless conduct,

Plaintiff has suffered the damages outlined above.

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WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial

by jury of all issues so triable as of right by jury.

Respectfully submitted,

/S/
Dawn Jackson, Esq. (Bar No. 485118)
JACKSON & ASSOCIATES LAW FIRM, LLC
1300 Caraway Court
Suite 100
Largo, MD 20774
301 883 0800 Tel.
301 883 0801 Fax
djackson@jacksonassociateslawfirm.com
Counsel for Plaintiff

 

/s/
Howard Haley, Esq. (Bar No. 999376)
The Haley Firm, PC
7600 Georgia Ave, NW #416
Washington, DC 20012
V: (202) 810-6329
F: (202) 706-7375
HaleyFirm@gmail.com

Counsel for Plaintiff

VERTIFICATION

I, JANE DOE, HEREBY VERIFY UNDER THE PENALTY OF PERJURY THAT THE
INFORMATION CONTAINED IN THIS COMPLAINT IS TRUE AND ACCURATE TO THE
BEST OF MY KNOWLEDGE AND BELIEF

 

Jane Doe Date

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JURY DEMAND

Plaintiff demands trial by a jury on all issues so triable.

[s/
Dawn Jackson (485118)

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EXHIBIT A
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EXHIBIT B
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Superior Court of the District of Columbia 71

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT GF AN ARREST WARRANT USW NO:

 

NAME! NICKNAME: ALEASES; ccN: PDED:
NfA N/A | None

wer: | WGT: | EYES: | COMP: | SCARS, MARKS, TaTOOS:
| ME) GI | Xone visibie
DEFENDANT'S ADDRESS! HOME PHONE NUMBER:

 

 

 

 

 

 

 

 

DEFENDANT'S BUSINESS ADDRESS:

 

COMPLAINANT'S ~

 

 

 

 

 

Minor Victinn (16 year old Male) : a File
LOCATION OF GFFENSE: DATE OF GFFENSE | TIME OF OFFENSE
January 21, 2018 ; Pon. haurs
CAUTION AND MEDICAL CONDITIONS (CMC) Select a valid CMC ende below for wanted person when using, the caution indieator.
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6 = Violeal Tendencies __ 3) = Sexually Violent Predator “bt 2 Allergies "80 = Medication Required
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1& = Explosive Expertise ~_88 = Hamophiliae _ fis Suisidal = ot = Other — Mental Health Conditions

 

‘GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

Report:

On October 28, 2049, the Child and Family Services Agency {CFSAj hotline received a report fram a Duke Ellington Schaal
of Arts staff member. The staff meriber regorted that the school received an anonymous email alleging inappropriate
sexual contact hetwean the sender of the email and a current teacher, Mr. FY

lovestigation;
On October 29, 2049, your affiant received the allegation for investigation.

Your afflant elicited assistance in locating all identifiable information pertaining to the email address usec to send the
emalito the schoo! a

On November 13, 2045, your afflant was provided information based on the email request. Your affiant learned that the
email was registered to a specific phone number, with a specific iP address. The email address was created on October
22, 2019, which is also the same day that the original email was sant to the schoal.

Your aFfiant conducted a search of tha registered phone number and jearned it was registered to Witness #1. The iP
address was alse searched and it yielded a location that was ultimately determined to be where the complainant and
Witness #1 currently reside.

Your affiant conducted an interview with the reporting person, who stated that upon learning of the allegation, schoo!
officiais met with the named teacher Vr, herein referred to as ths defendant. The officials advised the
defendant of the email and allegations egainst him: but he did nat respond.

APFIAD

 

x.
TO: WARRANT CLERK
PLEASS ISS1TE WARRANT FOR:

 

Charge With:
Yirst Degrec Sexual Abuse of a Minor

ASSISTANT UNITED STATES ATTORNEY WUDGE) BEA 3
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Superior Court of the District of Columb WOy4 FT

 

 

       
 
 
 
 
 
   
   

 

 

 

   

 

 

 

 

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT ISWNO:
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M/A

 

DEFENDANT'S BUSINESS ADDRESS: CELLULAR PHONE NUMBER:

- r ELEPHONE NUMBER:

 

Minar Victim (96 year gl Mais) Oo File

; LOCATION OF OFFENSE: DATE OF OFFENSE TIME OF OFFENSE
. Z January 21, 2018 | @oois hours

CALTION AND IVEDICAL CONDITIONS (EMC) Salect a valid CMC code below for wanted person when using the caution indicator.
} 20 = Armed anti Dangerous __ 26 = Escape Risk _58=Alevholic _ 20 = Known ta apvse drugs

_ 95 = Violent Tendencies _. 30 = Sexually Violent Predator —60= Allergies  __ 80 = Madisation Required

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uw 16 = Expingive Expertise ___ 25 = Hemephiliac 70 Sideidal == 01 = Olber - Menta! Health Conditions

 

 

 

 

 

 

GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

 

teu Meme A oe tat eed Ee

The réperting person and schac! Principal responded ta the anonymous email and requested additianal information
from the sender. The sender responded that he or she was enrolled at the school during the time of the conduct but did
net wish to elaborate any further.

Your aMiant requested information regarding Witness #1 from the reporting person, who confirmed that he did attend
the school and now attends a university located outside of the District of Columaia.

Your affiant attempted to contact Witness #1 via text message to the registered phone number af the email and also

sending ar email to the anonyrnaus email address. =
Leu:
The following day, your affiant recelved a text message from another number, which Sest+Aesage stated that ha was

the sendar of the amail and it was not Witness #1. The individual identified himself as the co roplainant, which wes later
confirmed through a search of the phone number, The complainant advised that he wished to rernain anonymous but
was willing to ineet in person,

Your affiant searchad the defendamt’s class rosters and identified the complainant as a previous student of the school
where SM cught (also during the same time period).

On Decernber 4, 2019, your affiant and another Youth and family Services Division detective responded to the
complainant's school to conduct an interview. The complainant reported that he attended Ouke EHington Schoo! of Arts
from September 2015 to his graduation in June 2019. The complainant advised that the defendant was the Shaw Choir
Assistant from the complainant’s freshman to Junior years in high school. The defendant was also the complainant's
Sight Signing teacher beginning bis junior year of nigh school, September 2017.

 
  
 

NATURE:
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First Degree Sexual Abuse ofa Minor “Haak &. Kn EY

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ASSISTANT UNTIED STATES ATTORNEY (ADGE) SUPERIOR COURT OF THE
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TO: WARRAN ¥ CLERK

 

 

 
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Superior Court of the District of Columbia —
CRIMINAL DIVISION

 

 

     
     
    
 
     
 
  
 
 

 

 

 

AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USw NO:
DEFENDANT NAME: NICKNAME: ALFASES: CON: PIHD:
NiA N/A Bone
HGY: | WGT: | EYES: | COMP: | SCARS, MARKS, TATOOS:
a | | None visible

 

 

 

 

HOME PHONE NUMBER:
iA

 

 

 

LULAR PHONE NUMBER:

      

 
 

 

 

ea isk ee a ee Bs ee a
TELEPHONE NUMBER:
Gn File ‘
DATE GF OFFENSE | TIME OF OFFENSE
Z January 21, 2018 @aora hours
tect a valid CMC code helow for wanted person when astig tre exution indicator,

 

Minor Victim (46 year oid Mal
LOCATION OF OFFENSE:

   

2}

 

 

 

 

 

CAUTION AND MEDICAL CONDITIONS (CMO)

00 = Arad and Dangers ___?o * Escape Risk _ 88s Alcohalie 20 = Known to abuse drugs

__ 08 * Violent Tendancies ad = Sexually Vislent Predater __ #0 Alferges  __ $9 = Medication Required

_ 10 & Maris! Arts Expert So F Head Cendition __§8= Epilepsy 80 = Diabetic

_. 18 = Explosive Expertise ___ 88 = Hemophiliac aw? O = Suicidal __&1 = Other - Mantal Haaifa Conditions

 

 

GIVE BRIEF DESCRIPTION OF WHAT BAPPENED:

 

The complainant stated that the defendant was his teacher and a mentor to him and that he trusted the defendant, and
confided in him about school and personal issues. The complainant advised that in November or December of 2017.
things got “more serious” between the two of them and they began to flirt with one another. They would text and talk
on the phone a3 well as message one anather on Snap Chat.

The complainant disclosed that in fanuary, 2018, things became physicel between the two of them. The complainant,
the defendant, and several other studants performed at a show at the Kennedy Center, in front of the musical artist
Babyface. After the show, the entire group went to watch a movie at the AMC Hoffman Theater In Alexandria, VA.

After the movie was over, the group took several Ubers to go home, and the complainant, the defendant, and the fater
learned to be Witness #2, shared an Uber. The plan was to drop the complainant off at his house and then the
defendant would go home. In the initial interview, the complainant advised that on the way home, and after entering
Washington, DC, he reached over and removed the defendant's penis from his pants, and gecformed oral sex on him.
The complainant specifically stated that he gave the defendant “head.” The complainant could not recall what, if
anything, was sald prior te the act or during the act.

ina subsequent Interview, the complainant stated that he performed oral sex on the defendant after dropping Witness
#2 offat her house and prior to arriving at his residence,

The complainant advised that this was the anly sexual act between the two of them but they stayed flirty with one
snother. He also stated that he did not disclose the act to anyone during the school year except his friend, herein
referred to as Witness #3.

“VS SIGNATURE:

 
 

 

 

 

x
TO: WARRANT CLERK ~ ss .

PLEASE ISSUE WARRANT FOR; SUBSCRIBED AND SWORN BEFORE ME THIS
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Veale,

First Degree Sexual Abuse of a Minor

ASSISTANT UNITED STATES ATTORNEY

BROIL) EULA AL

(JUDGE) DEFPESHSEERN) SUPERIORCURT OF THE »
DISTRICT OF COLUMBIA

(MAC UG Ne
 

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 46 of 151

014 ? 1
_ Superior Court of the District of cof Gea OCRBOT

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USw NO:

 

  
 
       
 
   
  
 
 

NAME: NICKNAME: ALIASTS: CON: PDIP:
NAA NysA ; sid None
HGT: | WGY; BYES: [ SCARS, MARES, TATOOS:
7: None visible

HOME PHONE SUMBER:
N/A

 

 

 

 

“DOR:

 

 

 

 

  

 

 

 

 

Minor Viet n (16 year old Male) so ; On File
DATE OF OFFENSE ‘LIME OF OFFENSE
January 21,2018 ogo hours

CAUTION AND MEDICAL CONDITIONS {CME} Seteet a valid CuC code hclow for wanted person when using the egution indicator.

__ 89 = Armed and Dangerous 28 * Escape Fisk wt Alcohol = __ 20 Kinswr to abuse drugs

__ 05 = Vickant Tencenciss ane * Sexually Vielent Puxiator “eg = Alergies | _80 2 Mechoatlon Required

a. 1 = Martial Arts Expert wt * Heart Condition oS = Epiiensy  __ 90 = Diahatis

_. 18 * Explosive Expertise __. 85 = Hamephilias __7G * Sulcidal __04 @ Other = Mental Health Conditions

GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

 

 

The complainant stated that in October, 2019, ha was with friends in a dorm room, to Include Witness #1 and Witness
#3, and disclosed what occurred with the defendant. Witness #1 generated an anonymous small address and, along with
the complainant, sent an email te the schoal from Witness 41's lagtop.

The complainant was asked when the fast thre was that he wes In contact with the defendant. He advised that he had
not spoken with the defendant since graduation in Jung, 2019, but received a taxt message and phone call frorr him on
October 23, 2019, This was also the same day thet the defendant was advised of the allegation and placed on leave at
school. The defendant texted the comalainant and asked when he was gcing to be home fram school because he
wanted hint to recard vocals for 4 few songs the defendant had written. The two began to speak on the phone and,
while speaking an the phone, the defendant sent a text message to the complainant asking him if he still had the phone
application, Snap Chat, as he wished te ask him a question, When the complainant responded that he did have the
application, the defendant sent him a message asking if he had ever told anyone shout what occurred between them.
The complainant responded that he had not,

The complainant provided your affiant with additional text messages, which occurred after your affiant contacted him in
referance ta an Interview. On November 19, 2019, the complainant texted the defendant and told hirn that he had to
calt him later. The defendant responded Ok and asked if something was wrong. The complainant said that there was but
cou'd not talk about it at that time. Later in the evening, the comolainant calied tha defendant and told him that he was
contacted by your afflant and that he was going to talk tu your affiant. The complainant stated that he did not feal as
though he could lie about whet happened. The defendant asked the complainant to “help him,” said that "this could
ruin” him, and asked him “not to tell the truth.” The complainant said that ne was nat going te fie but to let him think
about it. The following day, the defendant texted the complainant and asked if he was going to call-the defendant back,
the complainant responded that he was not ready.

APPLANTG SIGNATURE:

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TO: WARRANT CLERIC a
PLEASE ISSIR WARRANT FOR: SUESCRIBED AND § SWgeN BEFORE ME THIS
ff DAY OF 20 2
Charge With: an — s

First Degree Sexual Abuse of a Minar Veet z.

ASSISTANT LINITED STATES ATTORN BO (JUDGE) BS 4} SUPERIOR QZUKT OF THE

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Superior Court of the District of Columbia
CRIMINAL BIVISION

RWOV 474

 

   
     
   
    
 
 

  
 
 

 

 

 

 

 

 

AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
BEFENDANT NAME: NICKNAME: ALIASES: CCN: PDD:
N/A N/A | Nene
ELGT: | WGT: $ ARS, MARKS, TATOOS:
None visible
DEFENDANT'S Al) HOME PHONE NUMBER:

N/A
CELLULAR PHONE NUMBER:

 

DEFENDANT'S BUSINESS ADDRESS:

 

7
Minor Victiin 016 year ald Male}

 

 
 

 

LOCATION OF OFFENSE: DATE OF OFFENSE | TIME OF OF PENSE

January 21, 2018 Goa eurs

CAUTION AND MEBICAL CONDITIONS (CMC) Select a valid CMC cade helow for wanted person when using the cantion indleator.
., 02 = Armed and Dangerous __.25 = Escape Risk 8 =Aloonode = __ 20 = Known lo abuse drugs

_. OS * Vidient Tendencies 30 = Sexually Viohaat Predator 68 = Allergies _ 80 = Mecleation Required

10 = Madial Ars Expac SO = Heart Condition _SeeEpilessy —_ 902 Oshetic

_ 15 # Exsiesive Exnertisa 88 = Hemophizas fit = Butsida! will = Other ~ Merial Health Conditions
GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

 

 

 

 

 

Your afflant conducted an interview with Witness #3 who reported that In May or June, 2018, he was told by the
complainant that he had physical contact with the defendant. The complainent told him that he “did something with
GE Witsress #3 asked him what occurred and the comolainant told him that ne “gave him head.” Witness 43 dees
not recall speaking with the complainant about it again until toward tha end of October, 2019. He stated that he was
with the complainant and Witness #1, and another friend, when the complaingni cisclosed the incident to them. The
complainant told the group about “giving head” to “JF Witness #1 stated that it was not right and they should do
something about it. They all decicied to make tha anonymous email address and send an email to the school.

On February 5, 2020, your affiant received information relating to the defendant's Uber activity during the time frame of
the reported abuse. Your affiant located a ride on January 20, 2018, that begen at 229 Swamp Fox Road, Alexandria, VA,
which Is next te the AMC Hoffman Theater, and ended at eich is the
defendant's address. The ride bagan at 11:38PM and ended at 12:274M cn January 21, 2618. A GPS picture was
provided with the information thai indicates the driver took an exit off of 295 Northbound that would deviate from a
direct path to the defendant's residence. The exit would alsa coincide with the Uber first going ta Witness #2’s residence
and then the complainant's residence before ending at the defendant’s residence.

Your afflant confirmed that on January 20, 2018, there was a show at the Keonedy Center and the aforernantioned
musica! artist Babyface was in attendance.

On March 9, 2020, your afflant conducted an interview with Witnass #2. Witness #2 staled that she used to be close
with the complainant when they were in school but they no longer speak to one another, She reported that the
defendant was her 10” and 11° grace Sight Singing teacher as well as the Music Director for Show Choir and Director of
Concern Chair, both of which she was a meraber of,

  
 

AFFIANTS'SIGH

 

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TO: WARRANT CLERK
PLEASE ISSUE WARRANT FOR: SUBSCRIBED AND SWORN BEFORE ME THIS
DAY OF mike. 30 2a

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First Degree Sexual Abuse of a Minor “Veeke. | a

ASSISTANT UNITED STATES ATTORNEY a WUDGE) SEARS ene sj SUPTRIONCAC IRT OF THE
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Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 48 of 151

Superior Court of the District of Colutite £0Gaw 0 1477

 

_ €RIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT usw NO;
DEPENDANT NAME: NICKNAME: ALIASES: CON: PDIP:

 
    
  
  
   
 

  

 

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_ None
SCARS, MARKS, TATOOS:
Nove visible

HOME PHONE NUMBER:
N/A

CELLULAR PHONE NUMBER:

 

 

 

 

 
  

 

 

 

 

oO LEPHONE NUSHS
Minor Victim 46 year old Male} Cn File

 

 

 

 
 

 

LOCATION OF OFFENSE: DATE OF OFFENSE | TIME OF OFFENSE
ne January 21, 2018 | @oo10 hours

CAUEION AND MEDICAL CONDITIONS (OMC) Sclect a valid CMC code helow for wanted person when using the cantion indicator,

 

U0 = Armed and Dangeraus ___#4 = Esvepe Risk _ os =Alcohotic = oD = Known to abuse crugs
_. C8 = Violent Tendencies ___ a0 = Sexually Violent Pradatar _Sos Alegi¢s — BO = Mecloation Required

16 = Martial Ams Expert £0 = Heart Condition __oe * Epilepsy aS Ciahetic

748 2 Sxolosive Expariise a!

85 = Hemoolililas ar = Suicidal wt = Other ~ Menial Health Conditions
‘GIVE BRIEF DESCRIPTION OF WHAT SIAPPENED: :

 

 

Witness #2 recalled cerforming at the Kennedy Center in front of the artist Babyiace but at first believed that she went
home directly after the shaw, When asked about a possibis trip to the mowies in Virginia, she stated that she did not
recall if this was the same date not but did not believe so. Witness #2 then looked at pictures and vidaas on har ohone
and observed pictures from January 20, 2018, that were marked with the tag AMC Hoffman logo,

Witness #2 stated that she took an Uber home but could not recall if she was In an Uber with the complainant and the
defendant. ,

Your affiant obtained Witness #2’s address and found it to be directly on the Uber GP5 route provided for the defendant
for January 26, 2018. Tas complainant’s residence Is approximately 2.4 miles from Witness 2's residence, and would
take anoroximately 10-21 minutes.

At the time of the offense, the defendant wes 25 years old and in a significant relationship, the comalainant’s teacher,
with the minor cornalainant, who was 16 years old at the tine of the offense.

On March 11, 2020, your affiant presented the complainant a single confirmation photograph which depicted the
defendant. This grocess was conducted via Face Time and audio recorded. Your afffant read the complainant the viewing
sheet Instructions and then showed him the photograph on the page. Your afflant asked tha complainant three
questions that are located at the bottom of the page. The complainant responded that he knew the individual in the
photograph, has since 2015, and rafers to him as Po Your affiant asked if this was the same individual with
whom he has been speaking to your affient about and he responded that itis.

Based on the aforementioned set of facts and circumstances, your affiant believes that probable cause exists and
respectfully requests a DC Superior Court arrest warrant be issued for the defendant.

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TO: WARRANT CLERK —

PLEASE ISSUR WARRANT FOR: SUBSCRIBED AND SWORN BEFORE ME THIS

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Pirst Degree Sernal Abuse of a Minor . f= we
ASSISTANT UNITED STATES ATTORNEY (JUDGE) DEBEAPKGEERK) SUPERTORCOURT OF THE

DISTRICT OF COLUBABIA
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SUPERIOR COURT OF TRE DISTRICT OF COLUMBIA
CRIMINAL DIVISION DCIN:
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COMPLAINT faseNo

Tistrict af Celumbia sa:

iFirst MD {Last} (FOI) fICNG)

 

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{First} iMiddics {Last}

Adi: [Ii i_ _

Between on or about May 1, 2015, and on or about August 30, 2018, within the Dusinict of Cohunhis, i being
more than four years older than 8. C., a child under sixteen years of age, that is, 14 years of age, ardl being isa significant
relationship with $.0., engaged in a sexual act with that child and caused that child to engage in a sexual act, that is
penetration of S. C's vulva by [J cenis. (Fiest Degree Child Sexual Abuse, in vielation of 22 D.C.
Code, Section 3008. with Aggravating Circumstanoes, In violation af 22 0.5. Cade Section 2020(aH2) (2001 ed}

Cao-Defendants:

TUL, BEL 01 6|

AfRant’s Same

 

 

Subserized and swarn ta before me this 23 day of March, 2024

 

 

udge} (Begaty Clerk}
WARRANT
To The United States Marshal ov any other authorized federal officer or the Chief af Police of the District of Calambia:
WHEREAS the foregoing complaint and affidavit supporting the allegations thereof have been sub-

mitted, aod there appearing probable cause and reasonable grounds for the issuance of an arrest warrant
dor Mark Mather

¥OU ARE THEREFORE COMMANDED TO BRING THE DEFENDANT BEFORE SALD COURT O8
OTHER PERSON ENUMERATED IN 18 U.S.C. 3041 forthwith to answer sald charge.

 

 

 

 

 

 

 

 

 

ESSERE oo cannnnwnnenennnnnvannnnnnnnnnnMRannnnNMANnniny _-aRRRRRODDIHIRRRRRRRRRRARRRRORR mon
dudge~ Superior Coust of the District of Cofumbia

Title 16: [7] Rule 168; [7] Judge:
Sex: on: CCN ii PDID:
Panering Officer: Kiel Tiley Badge Ne: 021761

OFFICER MUST EXECUTE RETURN
Cflicer’s Name: Date / Time: March 33, 2621
AUSA Signature: Feld AETC Fel il

 

 

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CCAUTION ARD MEINCAL CONDITIONS (CME) Selaw s valid GHEE sade Below for wanted parson when using Ihe cantion indication |

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| a HO = Martel Arts Expert SU = Heart Canton _85 8eplapsy "80 = Cigbetrs
ww 1S = Sxplosive Gapertise Ss & Mernaphiiac of ® Susie ad ot = Other + Menial Heads Conddions

Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 50 of 151

superior Court of the District of Columbia
SRIMINAL DPVISI RY
AFFIDAVIT IN SUPPORT OF AN ARREST WABBANT VSw NO:

 

NICKNAME: 1 AYY3ses" ~~

 

 

 

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HOME PHONE NUMBER;
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MPLAINANT'S NAME; TELEPHONE NUMBER
BE. — Ga file

 

 

 

 

 

 

 

 

fin kine 22, 2020, an Investigatar within BC Pullic Schools (DCPS Comprehensive Allernative Resolution and Equity
{CARE} team fled a report with the DC Child and Family Services Agency that Witness-1 had flied 8 carmpisint against a
former teacher. The former teacher was identified as BBE ato taught st Witness-t’s school. The complaint
alleged that Witness-3 hed been “groomed” > (EET joing thelr time in the echool. The grooming behavior
resulted in Withess-1 engaging in a sexual act with a.

in the initial complaint t the CARE team, Witness-1 reported tha sought them gifts, meals and a special
crystaifar thelr birthday. & personal relationship ensued between the student andl which included visits
by Witne ss-1 to the hame ot in the third visit, Witness-d reported engaging in sexual intercourse with
MR wes: bot Wit ess-1 that they should not be engaging in such behavier due to the age of Witness-1,
Witness] reported that they anly engaged in sexuai activiry ME ss the hed visit, the other occasions anly
imvaived “hanging cut and cuddling.“

 

Witness-] reported the level af attention shown TE .:: unique ard mot shown te all stuckents ov
| | Witness] mentfied hwo other students with whorr had close, persons relationahins with: the
complainant aad Witness-5.

Your afflam, Detective Kiel Tiley, conducted an interview with Witness-1 in reference to the comuaint fled with the
CARE tear.

Witness-2 enified PF as the teacher in the complaint and that he was originally the photography teacher,
although his roles changed while Witness-1 was a student. Aitness-1 described lL; different fram ather
sialf with regard to his vocabulary (using language more age appropriate for students} and due to the arrount of
personal infarrmation he would share with students, Witness-1 reportoo PE sought fo gain the trust af the

  

ee SIGNATURE:
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To: WARRANT CLERK ee

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ASSISTANT UNITED STATES ATTORNEY

 

 

SUPERIOR QOURT OF THE DISTRICT OF COLLIM ET.
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 51 of 151

Superior Court of the District of Columbia
CRIMINAL DIVESLORN

 

    
  
  

 

 

 

AFPIDAVUT IN SUPPORT CGP AN ABREST WARRANT TSW Bs
DEFENDANT NAME; NICKNAME: | ALIASES: CON: PEEL :
SEX: | RAG: Ow: BGT WIR EVES: | COMB: | SCARS, MANES. TATTOOS:

 

 

 

 

 

DEFENTRANT’S ADDRESS: ° HOME PHONE NUMBER:

 

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LEPEND ANTS HUSINESS ADDRESS: CELLULAN PRONE NUMBER

   

 

 

 

 

 

 

 

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OG = Violent Tendencies 3a @ = Saonaally Violent Peedaior St 2 Aergins 20 & Madinatinn Ragired
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GIVE BRIEF DESCRIPTION OF WHAT HAPPENET

 

 

students ancl bought gilts for a sonal number of celected students. Witness reported that P| bought
general items for the class, but bought vary specific Hems far others. Witness-] stated the general gifts were intended
to distract fram the personal gifts provided for certain students. [I booutd guy food, drinks and candy for hwo
fernale stadants based on thelr preference bet would then buy general community food for the reat of class.

Witness-d reserted shat would give them money for foud and lusch. as well as birthday presents and rack
specimens for theiy birthday. Witness-l stated this was due to their interest in geningy. Witness] re ported that while
HR #85 888) their teacher, he would speak of ofans post-graduation often te include wislts to his house and
museums, After Witness-1 graduated, they reported visting BB ouse and sending time as friends as
oppased to a normal teacher-student refationship, Witness-4 reported ee :::::< as boing located near
tarkey Thicket Recreating Center and the Brookland Metra Ststion, These visits included canvercation, drinking and

sraoking THC cartridges from TE apc.

Witness- i reported this relationship resulted in sexual intercourse on one occasion with after Witnesa-4
had graduated: Witness-1 was 17 years of age at that tine. Winess-b reported that spoke af their age
during the act and acknowledging Witness-3’s status of a former student, but the seaual act accurred, The complainant

stated that they were enthusiastic during the act as Witness] “really idetized” [BEE arc soughe his affection,
but regretted the act after its completion. Wilnesa-1 described the act asl Snserting his penis into me”

Witness- 2 reported that ne sexual acts arcurred while Witness-L was 2 student, but identified two other students who
hed cmilar relationships with BB Witnessed identified witness-5 as a student that BD bought
numerous gists for, and reported thot [BD discusses his relationship with Witnesa-5 with Witnese-1. Witness]
believed that BE eso vised Winess-5 after graduation at their collage.

 

 

Wh WARRANT CLERK

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SUPERIOR COURT GF TRE DISTRICT OF OOLUMBLA

 

   

  
   
     

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 52 of 151

superior Court of the District of Columbia

 

 

 

 

CRIMINAL BIVISTON
ASPIBAVIT IN SUPPORT GF SN ARREST WARRANT USw NGOs
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EVES. [ COMB) SCARS, MARRS FAPNOOS:

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WGP:

 

 

 

 

 

 

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~ | DEFENTRAN TS BUSINESS SQDRESS:

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ORE PLAINAD °S SABLE: TELEPHON eR MBER:
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| May 8915 PM Hours
| CAUTION AND MEDICAL CONDTHONS | LCMIC) Sulact a valid GSC code betas for wanted person when using Hae caution indicates,
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we $8. = Violent Tendencies : j __.BO ® Mesicaten Required
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1B 3 Bags gaiye S Exports se _ oft ® Olher ~ Mental Hevalths Conditions

 

 

 

 

 

 

 

 

 

 

   
 
 
 

   

 

 

Witriess~1 also identified the complainant, whe directly disclosed a romantic reiationshap with RM to winess-
1. The compiinant disclosed to Witness-i that during thelr sophomore year the carapiainant developed a ramantic
relationship at whe fell in love with the camplsinant. The complainant disclosed going to

BE vase where they would engage in oral sex, out [BBB sliegedly did not wish to engage in ather acte
because of thelr status a3 8 student. wWitness-1 believes these events took place in either 3014 or 2045, The
comiplainiant disclosed this in a classroom setting during their seniar year, possibly 2016. The complainant began by
apeeking with a smail group of friends but addressed the whale clase ag the camelainant noticed their attention. The
cornplairiant steted she wanted to address the rumors aboot A and to comfirm them. The cornpiginant stated
that would “definitely always lave me” and they ctopped talking because the complainant's Farndy would
At underitand.

Your affiant was able to contact the complainant via telephone in reference to the allegations, who agreed to éneak
about her tre at the schaal attended by Witnass-i and the complainast. The complainant confirmed thar she attended
Witnese- I's school from 2012-2017. Your affiant explained the scone of the investigation and the complainant stated
that they understecd why they contact was made, The complainant reported that during high school a persan teak
advantage of the complainant, that person was 4 visual arts teacher. The complainant regarted that at the the, she
was 14 years old and the teacher was 33 years old. The complainant identified the teacher iim

The complairiant reported that | sending the complainant letters ard began taking her horne from
school. [RBBB oiso began inviting the complainant over ta his home, arc on one occasion attempting ta have
sexual intercourse with the complainant, The complains nt reported that she was a virgin at that time. THis Incident
vecurred aver the summer at his home, in hs bedroom. [BBBBBattempted to penetrate the complsinant, which
frightened the complainant and made the complainant cry. This occurred while the complainant was s student in the
summer Of 2075 ar 2095,

 

AFFIRNT'S SIGNATURE:

TO: WARRANTCLERK een

PLEASE ISSUE WARRANT FOR: — SURSCRIBED AND SWORN BEFORE Me TMs
_ DAY OF 20

 

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ASSESTANT UNITED STATES A] TORN EY a u DOR) DEPPUTY SLERR)

SUPERIOR COURT OF THE DISTRICT OF COLUMELS

 

 
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superior Court of the District of Columbia
CRIMINAL DIVISION

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

APPIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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The complainant began cdernonstrating an amotiona! feiponse to the interview, audibly crying. Your affiant then offered
4 Conduct the interview in person and the comipivinant agreed, Your afflant met the complainant in Person ora later
date,

The complaivant reported the relationship with [BEBE bcea5 in 2015 while attending an afterschant! program
coortmated by BB students weutd watch movies and da coursework [BBB so would drive a group
of students home after the program each night- dropping the complainant off fast of the group. Ga ane such Occadiant,
Is May of 2015, before the complainant turned 16, BBB kissed the complainant.

The complainant reported that this kiss occurred rT «<2. near the campisinant’s home, The
complainant disclosed telling [BB hc complainant had never bese kissed before and he replied that he would
showher, The complainant described the kiss as “on the mouth with tongue.” inside of Ris red sport utility vehicle.

GE & 28: drove the complainant home,
fF began buying the complainant random dems at schoal, grompting classrnates ta notice, Po

would alse touch the complainant's knee under the table during classes and would routinely meet individually with her
te discuss thely relationship under the guise of instruction. This relationship, which the complainant described as
“rarnantic,” continued for a year.

The complainant regorted i summer she visited IB bors on routtipis cecasions, describing its
ideation int Northeast OC, near Turkey Thicket Recreation Canter fof nate. PE <sisteres OMV adciress is Q.4
miles from Turkey Thicket Recreation Center). These visits included movies and food, which BBB suc buy for
the complainant. PF WOuld routinely walk her borne from school and they would frequent parks along the

   

   
   
 

 

 

 

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
     
  
  
  

 

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 54 of 151

Superior Court of the District of Columbia
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APPUDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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“GIVE BRIER DESCRIPTION GR WHAT HAPPENED, 7

 

 

way. The complainant's echoal in 2015 was located ina diferent location thar its current location, allowing the
compliriant to walk Rome,

The cammlainant described ane snecific day she sment vi On this day, they were diccamssing their
relationship status SB cicaves his wishes to marry and meet her farnily. TE «sussex how
thelr relationship would look when she tumed 18 becauce he did not want people ta know how it began, wanting to be
discreet. The complainant then told him that she was a virgin, and she did not want to have intercourse with him, The
complainant told ae: she did mat want to give him her virginity due te his age, position as her teacher, arid

how she felt it would affect her mentally, [RM oucstioned her resistance to having intercourse but
ackniowde deed her concerns.

on the game day, they returned te the horne of a. Late inte the might, they were laying on a futon and were
kissing each other. The complainant reported that he “forced himself upon her by penetrating her vagina with his
penis. This eccurrad inside iii” bedroarn. The complainant reported that she had recantly coved
BEBE sh: did not want ta engage in vaginal intercourse, as she was a virgin. The complainant stated she was WESTIN 3
“blue thin dress" that BBE emoved, as well a3 his awn clothing. [BB was touching her breasts,

vaging, her lings, and neck, The complainant reported they were both nude at this time, with|Evearing boxer
shorts.

The completa? reported che was “following his feed” during this incident as she was unsure what to do inthis
shuatien, The complginant reported that digitally penetrated her and then penetrated her vaging with iis
pends, The commainant reported that had penetrated her for approximately LO seconds, felt pain, ther
pushed [BBE sf of ner. the complainant instantly began crying and described experiencing a “wave of
amations.” The complainant questioned why he would penetrate her despite explicitly telling him she did net want that

   

   
 

 

2 3°S SIGMATURE:

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TO: WARRANT CLERK —

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Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 55 of 151

Superior Court of the District of Columbia
CRIBINAL DIVEShON

 

 

 

 

 

 

 

 

 

 

 

 

APPIDAVIT IN SUPPORT OF AN ARREST WARRANT RSW NO:
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ww. (0 *Martal Arts Expert coal ® Reart Condiion 8S = Epdepsy 6 = Cisbetic
ww te PExplosive Expertise 85 = Hamoghiias it Suicksh Ot = Other ~ Manta! Health Conditions

GIVE BRIEP DESCRIPTION OF WHAT HAPPENED:

 

 

 

to Ragen, fF than held her to attenip? to console her, and they both then took « shower together. | |
WME 2 eclogized and took the complainant hore after the shower,

The complsinast reported this incident, and all the hore visits, occurred in the summer of RODS: the ouvrigisinant would

Reve bewn 15-years-alel at this time. The complainant disclosed further that on the first visit te EE 5. he
performed oral sex by licking her vagina with his misuth.

‘The complainant disclosed that she engaged in nurnerous romantic encounters with | Fram kissing,
to “fesling her up" in his car and oralsex. Due to the high number of events, the complainant had rouble differentiating
betwhen events. The complainant reperted that an ome occasion, whi! P| performed oral sax on the
complainant, she recipracated and performed aral sex om f In his bedroom.

BR «*:tinely cold the complainant ty avoid documenting any evidence of their relationshig in weit oc
ia taid the complainant that she was the youngest girl he had talked to but began talking to 3 classmate saon after
theirrlationshia ended, The camplsinant beflewad this relationship ta he remantic and sirnilar to her own and
identified the dassmate as Witness-5. The complainant alee ranorted hearing of rumors that other students who were
mwoled with [BES ter she graduated, nut those rumors could not be eubstantiated,

The compilsinant identified Witsess-2 and Wiiness-4 as close friends in which she confided about her romantic
relationship with FT The complainant stated she confided in them white the reistlanship was active.

Ai the conclusion af the interview, the complainant was presented with 2 single colar ohotegraph of ID wich
adate of birth im The complainant identified [BBB and stated she has known him for 6 years,
Hereinafter BBR shail se referred to as Sefendant

Eas SICUS TURE:

 

 

 
 

 

 

 

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Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 56 of 151

superior Court of the District of Columbia
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The complainant grovided gersanal photographs she had taken of Deverchaere ane of which aopears to show him
sitting in close proximity te the shone/camers on a park bench and another appears to depict Defendant [Bis a
classroom setting with the caption “lave of my life.” The individual in the pictures appears to be Defendant |

The com plainant also provided screen shots of rnesseges between the complainant’s device ard “sir hea’ and il
i. The complsinant identified Defendant Walker as the person of which both communication threads were
corresponding. Varia messages from "sir laa” request photographs and speak of the com glainant’s festures, One
message states, "your eyes are amazing, | hist wonder how they fook after yaucry.” Another thread discusses
Gefendant JI moving to itely and the complainant accorapanying him, Defendant BI esks, “so you really wart
to ise with me? You want me to walt for yau?” The complainant replies “yes Byes.” and Defendant responded “Y
know, It rreans more now, Especiaily with you telling me.“

The complainant also provided a Hand-written letter to your afflant and identified TTT: RS author, The lerres

discusses the complzinant’s “beauty and one ling reads, “yOu exude beauty, sometimes it’s overwhelming.” The

hancheriting on the letter apngars ta be similar with handwriting contained in the employes files completed ni
BRE gusing bs employment at the complainant’s schol.

Your wfant had occasion to speak with Witness-2 on a later date. Witness? confinmed having 3 frigruishio with the
complairaat arid attending the same school frarn JOLS-2O17,

Witress-2 reported observing the complainant getting close with a teacher, identified as Defendsoti MM was wrere
the complainant letters and would buy the complsinant small gifts. The complainant hegan te speak apaenty shout going
on “dates” with Defandsnt RBBB as weil. The complainant spoke about going to a park with Defendant here
they would kiss anc da “other stuff.” Witnese-? described one incident that the commainant disclosed about Gefandant

oy NPS SIGNATURE:

 

 
 

 

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 57 of 151

Superior Court of the District of Columbia

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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Stkitt'Sd MM SR A Vd. AAI SSS AAA ASAE
oO! NANT 'S NAME: TELEPHONE NUMBER, "|
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EVE BRIEF DESCRIPTION OF WRHATHAPPENED: _. “ceettseseeeeee

 

 

 

Welker lifting the complainant's shirt and touching her hreaste in his vehicle, The complainant alse spoke te Witness-2
about staying the night at Defendant BE +225 and describing their relationship as romantic in Ratuwe. Witness
believed the relationship ended im 2016 at the request of the complainant.

Witness-2 reported that after the relationship between Defendant ae the complainant anded, he became clase
with another student who was identified ac Witress-S, Witness? reported that Defendant be can 8 romantic
relationship wh Witness-5, but it was unclear if thelr relationship began before Witness-5’s graduation. Witriess-5
spoke to Witness-2 of the relationship and reported that Defendara II did nat want it te be romantic unt after
Witress-S graduated. Wiress-2 reported that Defendant acted similady to Witness-5 as he did to the
complainant, but Witnass-2 had ne knowledge of any sexual encounters prior to Witness-5’s graduation,

Your affiant had occasion to speak with Witness-3 on a later date. Witness-3 canfirmad attending the same schoal as
the complanant and mainteining @ friendship with the complainant aad others named in this iwestigatian. Witness-3
confirmed that Defendant [was a teacher at the school Witness-3 had attended, but witness-2 teported haying
no knowledge of a romantic relationship he may have had with any student.

Your affiant had conducted a separate Investigation involving the achool that employed defendant enc attended
by the above witnesses. Witness-4 was interviewed in reference to the separate investigation and provided information

relating ta Defendant TE

Witness-4 reported maintaining a reiationshis with £ sefoncarrt RT after graduating and considered him a friand and
mentor, Witness-4 reported that Oefendantlfwas close with students and would aften take groups out for dinner
and routinely had students visit hls home. Witness-4 reported hesring that Defenda ntlEbed been sexually
involved with a student before the student graduated. Witness-4 reported that Defendane ll had osed his age and

 

 

 

 

 

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Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 58 of 151

Superior Court of the District of Columbia
CRIMINAL DIVISIO
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DEFENDANT NAME; BRCRRAME: ALAASES: Cas i PRHDs

 

 

 

 

 

 
   
 

 

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GIVE BRIEF PESCHIPTION OF WHAT HAPPENED:

 

State to Manipulate the student, wha wes now coming to terms with the psat and atkiressing what had tranapired.
Witness-<4 stated that Defendant had frequently drives this student home as part of their relarin mshin.

Your affant made contact with Witness-5 in referance to the investigation of Defendant . witress-s afirraed
attending the school where Defendant wos a teacher. Your affiant explained to Witness-5 that the scope af the
investigation involved interections between students and facully during Witness-5’s time at the school Upan learning
of the scope of the investigation, Witness-5 declined to speak with law enforcement ary further.

Your afflant attempted to provide Delesdan fi an opportunity te provide a statement in referanice to the
investigation. Your affient traveled to the Hsted residence of Hefandart A and encountered an individual wha
stated trary lived at the location with defendant The individual scoepted your effiant’s contact information ang
agreed to praviede it te Calendar Gefendant MM contacted the undersigned vie telephare later and stated
that due to having laced accusations previously, he was unsure shout providing @ Statement te your afflant, Defendant
| not yet provided a statement in reference to this Investigation.

 

At the Unve of the reported offenses, the complainant wag 25 years aid and Defendant | was 35 - 26 years old,
defendant MM encioyes records indicated that he was ernployed at the complginant’s school behween 3044 and
2013, when Defendant [resigned The complainant aniended the china between 2013 and al? and reported
that Oefendara was her visual arts teacher at the school,

 

Defendant Be ina significant relationship with the complzinant and over the age of 18 when he engaged in
sexual scis with the complainant, a child per OC Code. Your affiant halleves there to be caulficient probable cause for the
arrest of Defendon for the appropriate charges.

ANTS SIGNATURE:
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Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 59 of 151

THE SUPERIOR COURT FOR THE DISTRICT GF COLUMBIA
Civil Division

 

FANE DOE *
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¥v. *
* CASE NG
DUKE ELLINGTON SCHOOL % Judge-in-Chambers
OF THE ARTS PROTECT, ef al. *
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Defendants. *
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ORDER

 

 

 

Plaintiff's Motion to Proceed under Pseudonym, having been read, considered and
this Court having determined that the request is for good cause;

itis this 16th day of February , 2022,

 

itis ORDERED, that the Plaintiff's Motion to Proceed under Pseudonym is hereby,

GRANTED:

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judge-in-Chambers
Joan Zeldon, Senior Judge

Copies to:

Dawn R. Jackson, Esq.

Duke Ellington School of the Arts
District of Columbia

DC Public School System

Mitzi Yates

Rory Pullens

 
 

Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 60 of 151

Superior Court of the District of Columbia

CIVIL DIVISION- CIVIL ACTIONS BRANCH

 

 

 

INFORMATION SHEET
Jane Doe Case Number:
vs Date: 02-17-2022
Duke Ellington School of the Arts Project, et al. One of the defendants is being sued

 

in thetr official capacity.

 

 

 

 

 

Name: (Please Print) Relationship to Lawsuit
Dawn Jackson, Esq. -
Firm Name. Attomey for Plainaff
Jackson and Associates Lawfirm Ci Self (Pro Se)
Telephone No.: Six digit Unified Bar No.: .
HRD 485118 CJ other:
TYPE OF CASE: Co Non-Jury LJ 6 Person Jury 12 Person Jury
Demand: § $10,000,000 Other:

 

PENDING CASE(S) RELATED TO THE ACTION BEING FILED

 

 

 

 

Case No.: Judge: Calendar #:

Case No.: Judge: Calendar#:

NATURE OF SUIT: (Check One Box Only}

A. CONTRACTS COLLECTION CASES
(J 01 Breach of Contract (4 14 Under $25,000 Plif. Grants Consent [7 16 Under $25,000 Consent Denied

02 Breach of Warranty [_] 17 OVER $25,000 Plif. Grants Consent{__[18 OVER $25,000 Consent Denied

L_] 06 Negotiable Instrument [| 27 Insurance/Subrogation [_]26 Insurance/Subrogation
[_] 07 Personal Property Over $25,000 Pitf, Grants Consent Over $25,000 Consent Denied

[_] 13 Employment Discrimination [[] 07 Insvrance/Subrogation

[ [34 Insurance/Subrogation

1 15 Special Education Fees Under $25,000 Pltf. Grants Consent Under $25,000 Consent Denied

| 278 Motion to Confirm Arbitration

Award (Collection Cases Only)

 

B. PROPERTY TORTS
CI 01 Automobile LJ 03 Destruction of Private Property | 05 Trespass
L_] 02 Conversion [_] 04 Property Damage

[_] 97 Shoplifting, D.C. Code § 27-102 (a)

 

 

C. PERSONAL TORTS

 

(7) O1 Abuse of Process (_] 10 Invasion of Privacy (7717 Personal Injury- (Not Automobile,
02 Alienation of Affection [~] 11 Libel and Slander Not Malpractice)
L_] 03 Assault and Battery _ (112 Malicious Interference 18Wroneful Death (Not Malpractice)
[_ | 04 Automobile- Personal Injury L_] 13 Malicious Prosecution LC} 19 Wrongful Eviction
[_] 05 Deceit (Misrepresentation) | [[] 14 Malpractice Legal [-} 20 Friendly Suit
{_] 06 False Accusation []15 Malpractice Medical (ackuding Wronefill Death) [-]21 Asbestos
[J 07 False Arrest (CJ |64 Negligence- (Not Automobile, [_] 22 Toxic/Mass Torts
L_] 08 Fraud Not Malpractice) [423 Tobacco
L_] 24 Lead Paint
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CV-496/Jume 2015

 
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 61 of 151

Information Sheet, Continued

 

 

¢, OTHERS
L_] @1 Accounting [__] 17 Merit Personnel Act (OFA)
[_] 02 Att. Before Judgment (D.C. Code Title 1, Chapter 6)
[[] 95 Ejectment CI 18 Product Liability
[-] 09 Special Writ/Warrants
(DC Code § 71-941) Lj 24 Application to Confirm, Modify,
L_] 10 Traffic Adjudication Vacate Arbitration Award (DC Code § 16-4401)
(711 Writ of Replevin [_] 29 Merit Personnel Act (OHR)
(1 12 Enforce Mechanics Lien C] 31 Housing Code Regulations
[__]16 Declaratory Judgment [1 32 Qui Tam
[| 33 Whistleblower
i.
[1 03 Change of Name [J] 15 Libel of Information [7] 21 Petition for Subpoena
L] 06 Foreign Judgment/Domestic [_] 19 Enter Adminisirative Order as [Rule 28-] (b)]
[J] 08 Foreign Judsment/International Judgment [ D.C. Code § [1 22 Release Mechanies Lien
[_] 13 Correction of Birth Certificate 2-1802.03 (h) or 32-151 9 (aj C] 23 Rule 27(aj{1}
[] 14 Correction of Marriage [7] 20 Master Meter (D.C. Code § (Perpetuate Testimony}
Certificate 42-3301, et seq.) [] 24 Petition for Structured Settlement
LC] 26 Petition for Civil Asset Forfeiture (Vehicle) C] 25 Petition for Liquidation

[_] 27 Petition for Civil Asset Forfeiture (Currency)
[_] 28 Petition for Civil Asset Forfeiture (Other)

 

 

BD. REAL PROPERTY

[__] 09 Real Property-Real Estate [_ ] 08 Quiet Title
12 Specific Performance L_] 25 Liens: Tax / Water Consent Granted
04 Condemnation (Eminent Domain} LJ 30 Liens: Tax / Water Consent Denied

[_] 10 Mortgage Foreclosure/Judicial Sate [_]31 Tax Lien Bid Off Certificate Consent Granted
[J 11 Petition for Civil Asset Forfeiture (RP)

 

Wi W—— 02-17-2022

Attomey’s Signature . Date

 

CV-496/ Tune 2015

 
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 62 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

 

Jane Doe

 

 

 

Plamtift
Vs.
Case Number
Duke Ellington School of the Arts Project
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attorney

 

1300 Caraway Court, Ste. 100 By

Address Deputy Clerk
Upper Marlboro, MD 20774

301—883—0800 Date

Telephone
21 Bik Was i (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé co mot bai dich, hay goi (202) 879-4828

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IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO 80, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500

Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espaficl

CV-3110 [Rev. June 2017} Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 63 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5606, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.dcecourts.gov

 

Jane Doe

 

Demandante
contra

Numero de Caso:

 

Duke Ellington School of the Arts Project

Demandado

 

CIFATORIO
Al susodicho Demaadado:

Por ja presente se le cifa a comparecer y se le require entregar wna Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la enirega del citatorio. $i usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por corres una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio,

A usted también se le require presentar la Contestacion original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direccién Subsecretario
Upper Marlboro, MD 20774

301-883-0800 Fecha

Teléfono
Mi Bhs, iT BAR (202) 879-4828 Veuillez appeier au (202) 879-4828 pour une traduction Dé cd mét bai dich, hay goi (202) 879-4828
hey SLAY 202) 879-4828 SSVepeeeMTe RATICT TOR aerTFe (202) 879-4828 22a,

 

 

 

 

IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR L4 DEMANDA DENTRO DEL PLAZO
EXIGIDO,

St desea conversar con un abogado y Je parece que no puede pagarle a uno, Lame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 64 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

 

 

 

 

Jane Doe .
Plaintiff
vs.
Case Number
Rory Pullens
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Govenmnent, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
jadgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attomey

1300 Caraway Court, Ste. 100 By
Address Deputy Clerk
Upper Marlboro, MD 20774

301—883—0800 Date

Telephone
MSE Bik (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé cd mét bai dich, hay goi (202) 879-4828

Hote Ala} ANG, (202)879-4825R BIAS ema Pore acMTePr (202) 879-4828 peo

 

 

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to taik to a lawyer and feef that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W_, for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Yea al dorso la traduccién al espafiol

Cy-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 65 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
Numero de Caso:
Rory Pullens
Demandado
CITATORIO

Al susodichoe Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitm (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted estd siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Coniestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de ia parte demandante. El nombre y direccidén del
abogado aparecen al final de este documento. Si el demandado no tiene abogada, tiene que enviarle al demandante una
copia de la Contestacién por correo a Ja direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacion original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sdbados. Usted puede presentar 1a Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.

 

 

 

 

 

 

Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante
1300 Caraway Court, Ste. 100 Por:
Dtreccién Subsecretario
Upper Marlboro, MD 20774
301-883-0800 Fecha
Teléfono
oe AE ES) ig (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé cé mst bai dich, hay goi {202} 879-4828
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IMPORTANTE; SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER. VENDIDOS PARA PAGAR EL FALLO. SI
USTED PRETENDE OPONERSE A ESTA ACCION, NO_DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, ame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 3000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Cry. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 66 of 151
Superior Court of the District of Columbia
. CIVEL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

 

 

 

 

Jane Doe
Plamufft
vs.
. Case Number
Mitzi Yates
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attorney

1300 Caraway Court, Ste. 100 By
Address Deputy Clerk
Upper Marlbcro, MD 20774

301—883—0800 Date

Telephone
0A EH Bie (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction é cd mot bai dich, hay goi (202) 879-4828

oS SS ANP, (202)879-4828 Meee ees bore aeTT PP (202) 879-4828 Lem

 

 

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT, IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 3000 at 500

Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccion al espafiol

CV-3110 [Rev. June 2017] Super, Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 ‘Page 67 of 151

TRIBUNAL SUPERIOR BEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

Demandante
contra

Numero de Caso:

 

Mitzi Yates

 

Demandado

CITATORIO
Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintiin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted est4 siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Cotumbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. $i el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m, de lunes a viernes 0 emtre las 9:00 a.m. y las 12:00 del mediodia
los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direccién Subsecretario
Upper Marlboro, MD 20774.

301-883-0800 Fecha
Teléfono
ete, ad] SE (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé cd mat bai dich, hay goi (202) 879-4828

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IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
USTED PRETENDE OPONERSE A ESTA ACCION, NO _DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Lega! Services (202-279-5100) para pedir ayuda o venga a Ja Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Yea al dorso ef original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 68 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20061
Telephone: (202) 879-1133 Website: www.dccourts.gov

 

 

 

 

Jane Doe
Plaintiff
¥S.
_. Case Number
Mark A. Williams
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Sunamons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 am. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attomey

 

1300 Caraway Court, Ste. 100 By
Address Deputy Clerk
Upper Marlboro, MD 20774

301—883—080 Date

Telephone
WB ishT BR (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé cé mét bai dich, hay poi (202) 879-4828

Hoe Rat AIRE, (202) 870-4829 BSE enor FOR AeTeTeT (202) 879-4828 e.2are

 

 

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF HIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
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ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME,

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccidn al espafiol

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 69 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
neue Numero de Caso:
Mark A. Wilhams
Demandada
CITATORIO

Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona 0 por medio de un abogado, en el plazo de veintitn (21) dias contados después que usted haya recibido este
citatorio, excluyende el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacidn al abogado de la parte demandante. El] nombre y direccidén del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5600, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sébados. Usted puede presentar la Contestacién original anie el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. $i
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.

 

 

 

 

 

 

Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante
1300 Caraway Court, Ste. 100 Por:
Direccién Subsecretario
Upper Marlboro, MD 20774 ,
301-883-0806 Fecha
Teléfono
SF Bis (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé c6 mat bai dich, hay goi (202) 879-4828
Geshe pales Mie 202) 879-4879 Sa A PACT PCR MTT (202) 8794828 gear

IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELD[A CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
USTED PRETENDE OPONERSE A ESTA ACCION, NO _DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, lame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o ef Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 70 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5600 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

 

 

Plaintitt
vs.

Case Number

 

District of Columbia Public School System
Defendant

 

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to setve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
jedgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attorney

1300 Caraway Court, Ste. 100 By
Address Deputy Clerk
Upper Marlboro, MD 20774

301-883-~-0800 Date

Telephone
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IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WIFHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT, IF YOU INTEND TO OPPOSE THIS
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If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

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CV-3110 [Rev. June 2017] Super, Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 71 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov

 

Jane Doe

 

Demandante
contra

Numero de Caso:

 

District of Columbia Public School System

Demandado

 

CITATORIO
Al susodicho Demandadao:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno dei Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de la parte demandante. E] nombre y direccidén del
abogado aparecen al final de este documento. $i el demandacto no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las §:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
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usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1306 Caraway Court, Ste. 100 Por:

 

 

 

Direceién Subsecretario
Upper Marlboro, MD 20774

304-883-0800 Fecha

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IMPORTANTE: Sl USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. S! ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Sl
USTED PRETENDE OPONERSE A ESTA ACCION, NO _DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
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CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
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Jane Doe
Plaintiff
vs.
; . . Case Number
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Defendant
SUMMONS

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Dawn Jackson, Esq. Clerk of the Court
Name of Plaintiff's Attorney

1300 Caraway Court, Ste. 100 By
Address Deputy Clerk
Upper Marlboro, MD 20774

301-883-0800 Date

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Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
. . . Niznero de Caso:
District of Columbia
Demandado
CITATORIO

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Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direceién Subsecretario
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CV-3110 [Rev. June 20177 Super. Ct. Civ. R. 4
 

 

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 74 offkada

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02/28/2022
Clerk of tk

THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA

JANE DOE

c/o Jackson and Associates Law Firm
1300 Caraway Court #100

Upper Marlboro, MD 20774

Plaintiff,
VS

DUKE ELLINGTON SCHOOL
OF THE ARTS PROJECT
3500 R StNW
Washington, DC 20007

And

RORY PULLENS, Principal
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

MITZI YATES, Principal
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

MARK A. WILLIAMS, Teacher
c/o DUKE ELLINGTON SCHOOL OF
THE ARTS PROJECT

Serve All Duke Ellington Staff and School
Officials On Registered Agent:

Cliff Bowen
3500 R St. NW
Washington, DC 20007

DISTRICT OF COLUMBIA
PUBLIC SCHOOL SYSTEM
1200 First Street, NE
Washington, DC 20002

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Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 75 of 151

Serve On:

Chancellor, Dr. Lewis Ferebee
1200 First Street, NE, 10th Floor
Washington, DC 20002

And

DISTRICT OF COLUMBIA

A MUNICIPAL CORPORATION

1350 PENNSYLVANIA AVENUE, NW
WASHINGTON, DC 20004

Serve on the Mayor & Mayor's Designee:
The Honorable Muriel Bowser
Mayor, District of Columbia
or Designees
Chad Copeland, Stephanie Litos or
Tonia Robinson
John Wilson Building
1350 Pennsylvania Avenue, NW
Washington, DC 20004

The Honorable Karl Racine
Attorney General, District of Columbia
or Designees
Chad Copeland, Stephanie Litos or
Tonia Robinson
441 4th St. NW RM 6005S
Washington, DC 20001

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Defendants.

 

COMPLAINT

 

Plaintiff Jane Doe, by and through Dawn Jackson, Esquire, and Jackson & Associates
Law Firm, LLC, and Howard Haley, Esquire, and the Haley Firm, PC hereby sues Defendants
Duke Ellington School of the Arts Project (hereinafter referred to as “DESAP” or “Duke

Ellington”), Acting Principal Rory Pullens (hereinafter referred to as “Pullens”), Principal

 
 

 

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Mitzi Yates (hereinafter “Yates”) and Mark Williams (hereinafter referred to as “Williams”)
and District of Columbia Public School System (hereinafter referred to as “DCPS”), and
District of Columbia (hereinafter “District”) states as follows:

Parties

1. Defendant District of Columbia (District) is a municipal corporation responsible for
the administration of governmental functions affecting the District of Columbia, and
was at all times relevant to this cause of action responsible for the Plaintiff minor
child as a public school student at the Duke Ellington School of the Arts Project
(DESAP).

2. Atall times relevant, Defendant District was responsible for the education,
discipline, welfare and safety, and the supervision of students, and for establishing
the operational rules, regulations and policies, including non-discrimination
standards, guidelines and rules and for enforcing the rules, regulations, standards,
guidelines and policies at the schools. The Defendant District was also responsible
for training and supervising teachers and for ensuring that its teachers, counselors
and officers and personnel obey the rules, regulations and policies and the laws of
the District of Columbia and the United States. The Defendant was also responsible
for creating a welcoming, safe, and educationally appropriate environment for all
students.

3. Defendant District of Columbia Public Schools (DCPS) is the agency within the
District of Columbia responsible for the education and welfare of students in the

District of Columbia who, operate and manage K-12 schools in the District and its

 
 

 

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Chancellor is in charge of the schools (including their affiliates), their students and
staff discipline, welfare and safety, and the supervision of students, teachers and
other personnel. Defendant is directly responsible for establishing and
implementing policies, managing, supervising, and maintaining all of the public
schools within the school system.

. The Defendant DCPS is the official policy making body of the District of Columbia’s
Public Schools System and was at all times relevant to this cause of action,
responsible for the administration of the public school system in the District of
Columbia, and it executes this responsibility through its agent, the Chancellor.

. In 1999, the Duke Ellington School of the Arts Project (DESAP), an independent
501(c)(3) organization governed by its own board of directors and comprised of the
DC Public Schools (DCPS), the Ellington Fund, the John F. Kennedy Center for the
performing Arts (The Kennedy Center) and The George Washington University (GW
U) was created. The board includes a member from each entity. The Board governs
all operations of DESAP pursuant to the sole source contracts administered by DCPS.
. Defendant DESAP is a public secondary school located in the District of Columbia
that receives federal funding. Defendants DCPS managed, operated, maintained, and
controlled the subject property known as “Duke Ellington School of the Arts” located
at 3500 R St NW, Washington, DC 20007 and its common areas.

. Defendant DCPS managed the contracts for DESAP that employed agents, teachers,
educators, employees, officers, staff, administrators, representatives and servants;

DCPS policy bound DESAP agents, teachers, educators, employees, officers, staff,

 
 

 

9.

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administrators, representatives, and/or servants pursuant to the contracts; DCPS
policy determined the qualifications or lack of qualifications of said agents,
employees, officers, staff, administrators, representatives, and servants pursuant to
the contracts.

JURISDICTION AND VENUE
This Court has jurisdiction over the subject matter of this Complaint pursuant to 28
U.S.C. § 1331.
Venue is proper in this Court since the events giving rise to the Plaintiffs claims

occurred in the District of Columbia.

10. Notice pursuant to DC Code 12-309 was provided by virtue of a District Police

11.

12.

13.

Report filed November 15, 2004

ALLEGATIONS COMMON TO ALL COUNTS

Plaintiff was a minor who was the victim of unlawful intentional sexual battery,
statutory rape and other acts of sexual misconduct, sexual harassment and is being
identified by this pseudonym to protect her privacy.

The actual identity of the Plaintiff is known to the Defendants.

Defendants devised all policies, programs, and/or activities for the aforementioned
agents, teachers, educators, employees, staff, administrators, representatives and
servants, and/or residents of the community, and said agents, teachers, educators,
employees, staff, administrators, representatives and servants, worked in a common

effort for the benefit for the aforementioned Defendants.

 
 

 

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14. Defendants Pullens and Yates were employed as Principal/Acting Principal for
Defendant Duke Ellington - all staff, teachers, and educators at DESAP are
mandatory reporters per the student handbook.

15. Defendant Williams was also employed by Defendant DESAP as a teacher at Duke
Ellington.

16. Defendants (DESAP and DCPS) did not require Defendant Williams to undergo a
background check as all other public-school teachers in the District of Columbia are
required to complete.

17. Defendants (DESAP and DCPS) did not require Defendant Williams to possess or
obtain a teaching license. Defendant Williams was an educator who taught at DESAP
for more than 18 yrs.

18.DESAP has publicly acknowledged that they failed to keep any HR records
(including, but not limited to: reports of misconduct, internal reprimands,
investigations, or sanctions) for personnel prior to 2017.

19. Due to the unique relationship between DESAP and DCPS, Defendant Williams was
able to avoid scrutiny for his inappropriate acts.

20. During the 2001-2005, school year, Defendant Williams was the Literary Media &
Communications (then Literary Media Arts) Department Chair at Duke Ellington
while Plaintiff was a student.

21.In late spring before Plaintiff's junior year, she approached Defendant Williams

about joining his department and was subsequently accepted.

 
 

 

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22. Prior to Plaintiff's acceptance to the department, Defendant Williams asked, “Will |
have any angry parents to deal with?” as a condition of her acceptance to the
department.

23.Defendant Williams suggested that Plaintiff work with him over the summer for
private sessions to bring her current with the curriculum in his department before
the school year commenced.

24. Defendant Williams met with Plaintiff alone at a local Starbucks during the summer
private sessions. Plaintiff was unsure if the meetings were appropriate but
understood that it was a requirement for her to graduate.

25. Once Plaintiff started her junior year, she continued to receive special attention and
additional assignments from Defendant Williams. There were meetings in his office
after school as well.

26.Soon thereafter, Defendant Williams began to speak and write about personal
matters to Plaintiff under the pretense that it was consistent with her independent
study/ “schoolwork.”

27.There was one occasion that Defendant Williams used his position as a teacher to
have Plaintiff try on outfits for a theatrical production privately in his office at Duke
Ellington. Defendant Williams was the only faculty present in direct violation of
DCPS policy.

28. At the end of Plaintiffs junior year, Defendant Williams sent Plaintiff his writing
about his personal experiences and fantasies that were sexually explicit.

29. During the summer before Plaintiff's senior year, Plaintiff and Defendant Williams,

 
 

 

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would regularly have extensive phone conversations late into the night (sometimes
until 4:00 a.m.) - having phone sex while Defendant Williams drank alcohol and
smoked cigarettes on his front porch. These inappropriate calls were in direct
violation of DCPS policy.

30.In addition, Plaintiffs summer before her senior year, Plaintiff started to drink
heavily because she was upset and confused about the relationship with Defendant
Williams. She was inconsolable about her feelings and confused because she
believed that she was “in love” with her teacher who was married.

31. Defendant Williams would provide strong alcoholic drinks (mostly gin and tonics)
to the Plaintiff at his home.

32. At one point, Plaintiff became suicidal. One of her friends called 911 and Plaintiff
initially was taken to Sibley Hospital and later admitted to Psychiatric Institute of
Washington (PIW) in Washington, D.C.

33. During her stay in the hospital, Defendant Williams was on the approved call log
but some of the staff noticed and witnessed their inappropriate conversations (i.e.
that they were not “teacher-student” in nature) and immediately removed him from
her approved callers list, effectively stopping the communication between the
parties to help Plaintiff's mental health and stability.

34. Plaintiff missed the first day of school as a result of her admission to PIW. However,
she was forced to return to Defendant Williams’ classes after her discharge.

Defendant Williams used his position of authority and persuaded Plaintiff to

 
 

 

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participate in inappropriate sexual activities while on and off Duke Ellington’s
premises.

35. Defendant Williams would take Plaintiff on “dates” to a local restaurant and pub
located in Arlington, VA.

36. Defendant Williams also transported Plaintiff to his brother’s home in VA for the
purpose of having sexual relations with Plaintiff.

37.During this time period, Defendant Williams was ineffectively supervised and
ineffectively monitored in accordance with DESAP and DCPS policies.

38.A parent of a student informed Defendant Yates that Plaintiff and Defendant
Williams were involved in a sexual relationship.

39. Additionally, other staff members have revealed that they also heard of an
inappropriate relationship between Defendant Williams and Plaintiff which was
subsequently reported to Defendant Yates.

40. That, Defendant Yates shared this information with Father Payne of Duke Ellington
on November 15, 2004, The next day, November 16, 2014, Father Payne filed a
complaint with the DC police (MPD) regarding the inappropriate relationship. See
Exhibit A.

41.As a result of the police being notified, Defendant Williams was placed on
Administrative Leave by Defendant Yates.

42.A male arrived at Plaintiffs home, who questioned her in front of her parents and

brother, and as a result of being “in love” and embarrassed in front of her family,

 
 

 

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 83 of 151

Plaintiff felt compelled to deny the allegations. It is currently unclear who sent this
individual to the home of the Plaintiff.

43. Defendants District, DCPS, and DESAP, records related to the events alleged have
been requested from all Defendants; however, all have stated they have no records
regarding any investigation.

44. It has since been reported that Defendant Williams was placed on Administrative
Leave on more than one occasion by DESAP for the same or similar behavior.

45.Soon thereafter, Defendant Williams instructed Plaintiff to immediately delete all
phone, email, and text messages.

46. During this time, Defendant Williams forced Plaintiff to communicate with him via
pay phone to protect Defendant Williams during the alleged investigation.

47. Once the other students discovered the Defendant Williams was on Administrative
Leave, the students began to harass Plaintiff and made her life at school unbearable.

48. The harassment intensified to the point that Plaintiff emailed her poetry teacher,
Kenneth Carroll, and begged him to stop his “pet students” from harassing her (e.g.,
threatening to jump her, overall physical harm), to no avail.

49. Unfortunately, the hostile classroom environment remained for Plaintiff in each of
her arts block classes until her graduation.

50. Plaintiff was never interviewed by Defendant Duke Ellington about the sexual
relationship with Defendant Williams.

51. Plaintiff is not aware if Defendant Duke Ellington ever interviewed any teachers or

any of her friends about the sexual allegations with Defendant Williams.

10

 
 

 

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52. There is no evidence that any formal investigation pursuant to Title IX was ever
conducted by DESAP. *It is believed that an internal DESAP review was conducted
that resulted in an “inconclusive” decision - with no interview of the Plaintiff, her
friends, or other faculty who had relevant information.

53. Following the alleged investigation, Plaintiff was not removed from Defendant
Williams’ classes, but was forced to maintain classes with her abuser - this was a
direct violation of Title IX. His harassment continued until Plaintiff was a junior in
college.

54. Pursuant to D.C. Code Ann. § 4-1321.02, a mandated reporter is someone “who
knows or has reasonable cause to suspect that a child known to him or her in his or
her professional or official capacity has been or is in immediate danger of being a
mentally or physically abused or neglected child.”

55. Even though this abuse was reported to DESAP and DC officials, Defendant Williams
was never completely and thoroughly investigated pursuant to the Anti-Sexual
Abuse Act of 1994 (D.C. Law 10-257; D.C. Official Code § 22-3020.51(4)).

56.Sometime in 2020, Duke Ellington students Shanya Taylor and Makayla Hyatt
started an online petition intended to expose and bring awareness to Duke
Ellington’s policies and behaviors that created or encouraged a hostile environment

with a prevalence of sexual abuse. See https: / fwww.change ore /p /daaa-we-need-

 

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57.A number of students detailed their own sexual abuse and harassment and
identified Duke Ellington and key faculty members as being influential in the
coverups of sexual assaults on the aforementioned petition.

58. During the pattern of grooming and the escalation of Defendant Williams’ sexual
advances, Plaintiff, as a minor, did not understand the severity of Defendant
Williams’ behavior, felt helpless and believed that allowing Defendant Williams’
sexual advances was in her best interests.

59. Defendant Williams’ exploited the opportunities created by Defendants DCPS and
Duke Ellington to complete his grooming, sexual harassment, and sexual abuse of
Plaintiff, some of which occurred on school grounds. Each of these acts were in
direct violation of DESAP policy, in direct violation of DC Law, and direct violation of
Title IX.

60. Defendants DCPS and Duke Ellington are responsible for providing public education
to minor female students, including Plaintiff, through (a) oversight and supervision
of all school functions, school property and school student programs; and (b) the
hiring, supervision, management, assignment, control and regulation of individuals
who serve as staff members, including but not limited to school teachers and
educators, as well as the review and supervision of curricula developed by the
District of Columbia, schools and teachers as well as those who contract with the
District.

61.Pursuant to the contractual partnership between DESAP and DCPS they are

collectively responsible for all policies and procedures within the school. This

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62.

63.

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charge and responsibility includes supervision and discipline of teachers, educators,
contractors, and administrators, including but not limited to, Defendant Williams.
Plaintiff's sexual abuse occurred while Plaintiff was under the control and direction
of Defendant Williams, in areas of the school to which Defendant Williams had
access by virtue of his employment. Defendant Williams was bound by the policies
of DCPS pursuant to the contract that includes those who contract with the District.
Duke Ellington fostered a culture where teachers sexually groomed and abused

students over the years. See the attached police reports. See Exhibit B.

64. In 2020, Plaintiff and former Principal Yates had Facebook exchanges where Yates

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admitted and acknowledged Defendant Williams had been a problem in 2004 but
due to confidentially she couldn’t give all the details.

Despite allegations of Defendant Williams’ inappropriate relationship with Plaintiff,
Defendant Duke Ellington nevertheless: (a) permitted Defendant Williams to have
unsupervised access to various rooms and areas of the school; (b) permitted
Defendant Williams to have unsupervised contact with students after school hours;
(c) did not competently investigate the complaints of students and others about
Defendant Williams’ conduct; (d) did not disclose to the students, including Plaintiff,
the concerns about Defendant Williams; (e) failed to comply with the duties set
forth in District policies and procedures and federal law; (f) failed to remove
Plaintiff from Defendant Williams’ classes after being made aware of Plaintiff's
sexual abuse by Defendant Williams; (g) were deliberately indifferent to the safety,

security and well-being of students at Duke Ellington, including but not limited to

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Plaintiff; (j) prevented students, including Plaintiff, from receiving an education
without a condition of such education being sexual harassment, sexual grooming
and sexual abuse; and, (k) promoted school policies that fostered a climate to
flourish where innocent students, including Plaintiff, were victims of sexual abuse.
COUNT I
(Title IX, 20 U.S.C. §1681, et seq. - All Defendants)

66. Plaintiff incorporates her previous allegations as if fully rewritten herein.

67. Title IX of the Education Amendments of 1972 requires that “No person...shall,
on the basis of sex, be excluded from participation in, be denied the benefits of,
or be subjected to discrimination under any education program or activity
receiving Federal financial assistance...”

68. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual notice of
liability under Title IX for teacher-on-student sexual harassment, sexual
grooming, sexual discrimination, and sexual abuse.

69. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual knowledge of
Williams’ sexual harassment, sexual grooming, sexual discrimination and sexual
abuse of students.

70. At least by November 15, 2004, Defendants District of Columbia, DCPS, Duke
Ellington and Yates (and subsequently Pullens) possessed actual knowledge that

Williams had a high potential to sexually abuse female students.

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71. Plaintiff in 2003-2005, was subjected to discrimination in her education at Duke
Ellington based on her gender in that she suffered teacher-on-student sexual
harassment, sexual grooming and sexual abuse as a condition of her receipt of
education at Duke Ellington.

72. Duke Ellington failed to take appropriate corrective action, thereby acting with
deliberate indifference to the rights and safety of Plaintiff.

73.Defendants possessed actual knowledge of the allegations of Defendant
Williams’ sexual harassment, sexual grooming, sexual discrimination, and sexual
abuse of students.

74. Defendants District of Columbia, DCPS, Duke Ellington Yates (and subsequently
Pullens) possessed actual knowledge that Defendant Williams had ample
opportunity to sexually abuse students when there was a noted lack of other
faculty present in remote areas of the school or during events after school hours.

75. Plaintiff between 2003-2005, was subjected to discrimination in her education
at Duke Ellington based on her gender in that she suffered teacher-on-student
sexual harassment, sexual grooming, sexual abuse, and inappropriate contact as
a condition of her receipt of an education at Duke Ellington.

76. Defendants District of Columbia, DCPS, Duke Ellington and Yates (and
subsequently Pullens) failed to take appropriate corrective action, thereby
acting with deliberate indifference to the rights and safety of Plaintiff in one or
more of the following ways: (a) failing to report teacher-on-student sexual

harassment, sexual grooming and sexual abuse to appropriate authorities; (b)

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failing to cure or even attempt to cure obvious and known risks to minor female
students at Duke Ellington placed under Defendant Williams’ supervision and
authority; (c) failing to communicate any precautions, directives or educational
materials that might be utilized between parent and child to identify
inappropriate conduct that occurred between any student and adult, whether
generally or specifically in relation to Defendant Williams; and, (d) allowing
Defendant Williams to have unsupervised contact with minor female students,
including Plaintiff, without conducting, documenting and concluding a
competent investigation into the allegations and specific facts brought to light
prior to that time.

77.The deliberate indifference, actions and omissions described above caused
Plaintiff to suffer criminal sexual harassment and abuse by Defendant Williams.

78. Title IX requires Defendants DCPS, and Duke Ellington to provide educational
opportunity on an equal basis to all students regardless of their gender.

79. Defendants DCPS failed to comply with Title IX in that despite prior allegations
of misconduct, Defendants continued to allow Defendant Williams unsupervised
access to minor female students and access to certain rooms and areas where
Defendant Williams had the privacy to carry out the sexual abuse of minor
female students, including Plaintiff.

80. 20 U.S.C. § 1981 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as

within the remedies available in an action brought pursuant to 20 U.S.C. § 1981.

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81.As a direct and proximate result of the conduct of Defendants District of
Columbia, DCPS, Duke Ellington and Pullens as described herein, Plaintiff has
sustained severe and permanent bodily injury, sickness and/or disease,
including but not limited to sleep disturbance, nightmares, depression,
posttraumatic stress disorder, fatigue, social anxiety, anger, panic attacks, mood
disorder, and as a result thereof she has and will continue to experience: (a)
physical and mental pain and suffering; (b) emotional distress; (c) loss of a
normal life; (d) medical and counseling expenses; and (e) lost wages.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the
extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT II
(42 U.S.C. § 1983- Pullens & Yates)

82. Plaintiff incorporates her previous allegations as if fully rewritten herein.

83. Duke Ellington is a quasi-governmental entity due to its partnership with DCPS
(an agency with the District of Columbia) that has a governing interest in its
supervisory board.

84. Duke Ellington exists as a public school that has a majority of its funding from
the District of Columbia through contracts with DCPS that govern its

management and administration.

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85. Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-257; D.C.
Official Code § 22-3020.51(4)) governed the actions of all educational entities in
the District of Columbia including those who contract with the District of
Columbia or its agencies until the passage of the School Safety Omnibus
Amendment Act of 2018. D.C. ACT 22-624, enacted 2019 and effective School
Year 2020. Defendant Yates and subsequently Pullens failed to take any
appropriate action to remove the Plaintiff from the scope of immediate danger
and forced her to remain in the harmful cone of danger with her alleged abuser
in direct violation of these laws.

86. Pursuant to law, all teachers and staff of Duke Ellington are required to act
pertaining to the safety and security of students. Administration is charged with
ensuring that all faculty comply with DCPS policies, regulations, and school
handbook policy.

87. Defendants Pullens and Yates were acting under the color of these statutes and
policies in their capacity as an official(s) with the authority to take action against
Defendant Williams.

88. During Plaintiffs abuse by Defendant Williams, Defendants Pullens and Yates
knew or reasonably should have known (based on the allegations they had
received) that Defendant Williams exhibited dangerous propensities and was a
threat of harm to students, including Plaintiff.

89. Upon information and belief, Defendants Pullens and Yates were uniquely aware

of Defendant Williams’ propensity to commit acts of sexual harassment, sexual

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grooming, sexual abuse and/or misconduct against Plaintiff. Therefore,
Defendant Williams’ continued misconduct - and the harm that was likely to
result from that misconduct - was foreseeable.

90. Defendants Pullens and Yates were uniquely aware that Defendant Williams had
used Duke Ellington’s property to perpetuate acts of sexual harassment, sexual
grooming, sexual abuse and misconduct against students to which Defendant
Williams had access by and through his employment with the school.

91.Defendants Yates and Pullens turned a blind eye to allegations of sexual
harassment, sexual grooming, and sexual abuse, along with ignoring complaints
and failing to respond to allegations of misconduct in accordance with the law,
Title IX, and DCPS policy, in addition to acting with deliberate indifference to the
rights of minor female students, including Plaintiff.

92. Plaintiff was deprived of her constitutional liberty and equal protection interests
under the Fourteenth Amendment by Defendants Yates’ and Pullens’ failure to
restrict, reduce, or report Defendant Williams’ actions that fostered a hostile
educational climate where minor female students, including Plaintiff, were left
vulnerable and subject to sexual abuse, sexual grooming and sexual harassment
by Defendant Williams, an agent, servant and/or employee of Duke Ellington
through the contracts with DCPS. *It is noted that Father Payne did make a
report to DC Metropolitan Police Department on November 15, 2004.

93.The conduct of Defendants Yates and Pullens was arbitrary and offensive,

shocking the conscience and interfering with minor female students’ rights and

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liberties granted by the constitution and protected by law, including the
Plaintiffs.

94.42 U.S.C. § 1983 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as
within the remedies available in an action brought pursuant to 42 USC § 1983.

95. As a direct and proximate result of the conduct of Defendants Yates and Pullens
as described herein, Plaintiff has sustained severe and permanent bodily injury,
sickness and/or disease, including but not limited to sleep disturbance,
nightmares, depression, post-traumatic stress disorder, fatigue, social anxiety,
anger, panic attacks and as a result thereof she has and will continue to
experience to experience: (a) physical and mental pain and suffering; (b)
emotional distress; (c) loss of a normal life; (d) medical and counseling
expenses; and (e) lost wages.

96. The conduct of Defendants Yates and Pullens constituted a violation of trust or
confidence, showing complete indifference to or conscious disregard for the
safety and well-being of Plaintiff and other minor female students.

97. Justice and the public good require an award of punitive or exemplary damages
in such sum which will serve to punish Defendants Yates and Pullens and to
deter similar conduct by others.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT Il
(42 U.S.C § 1983- Duke Ellington)

98. Plaintiff incorporates her previous allegations as if fully rewritten herein.

99. Duke Ellington is a quasi-governmental entity due to its partnership with the
DCPS (an agency with the District of Columbia) that has a governing interest in
its supervisory board.

100.Duke Ellington exists as a public school that has a majority of its funding from
the District of Columbia through contracts with DCPS that govern its
management and administration.

101.Upon information and belief, Duke Ellington receives approximately 75% of its
funding via sole source contracts with DCPS. According to the Kennedy Center -
a partner of DESAP - “the school is managed and operated by The Kennedy
Center, George Washington University and the Ellington Fund under a contract
with District of Columbia Public Schools (DCPS) titled the Duke Ellington School
of the Arts Project.”

102.Duke Ellington established, through both action and inaction, a widespread
policy, practice or custom of allowing sexual harassment, sexual grooming,
sexual abuse and misconduct to continue to occur without corrective action.

103.Such policy, practice or custom includes, but is not limited to: (a) failing to

report teacher-on-student sexual harassment, sexual grooming and sexual abuse

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and to appropriate authorities as required by law and policy; (b) failing to cure
or even attempt to cure obvious and known risks to minor female students at
Duke Ellington placed under Defendant Williams’ supervision and authority; (c)
failing to communicate any precautions, directives or educational materials that
might be utilized between parent and child to identify inappropriate conduct
that occurred between any student and adult, whether generally or specifically
in relation to Defendant Williams; (d) allowing Defendant Williams to have
unsupervised contact with minor female students, including Plaintiff, without
conducting, documenting and concluding a competent investigation into the
allegations and specific facts brought to light prior to that time; (e) allowing
Defendant Williams to have unsupervised access to various rooms and areas at
Duke Ellington while having absolutely no effective plan for supervision or
surveillance of Defendant Williams.

104.Defendants Duke Ellington employed policies, practices and customs which
fostered a climate facilitating sexual abuse of minor female students by
Defendant Williams. This evidenced a reckless disregard and/or a deliberate
indifference to the consequences that such policies had on minor female
students at Duke Ellington, including Plaintiff.

105.Duke Ellington board of Directors (which include DCPS Officials and Defendant
Williams) and administrators, had final policymaking authority of Duke Ellington
and exercised that granted authority to Defendants Yates and Pullens in

particular, in making decisions that perpetuated and/or allowed the sexual

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abuse of Plaintiff by Defendant Williams and caused Plaintiff's harm to occur
and/or continue.

106.Duke Ellington and all of its faculty are mandated reporters pursuant to D.C.
Code Ann. § 4-1321.02, and are required to report allegations and suspicions of
child abuse to the Child and Family Services Agency or Metropolitan Police
Department. The student handbook fosters a special relationship between Duke
Ellington faculty and the students because they are advised that mandatory
reporting will occur.

107.The Duke Ellington faculty are mandatory reporters under the law; therefore,
they are acting under the color of law in their capacity as educators of the
District of Columbia.

108.Pursuant to Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-
257; D.C. Official Code § 22-3020.51(4)) and School Safety Omnibus Amendment
Act of 2018. D.C. ACT 22-624, all educational entities in the District of Columbia
were charged with the duty to protect all students from any potential sexual
abuse. They were effectively mandated agents of the District of Columbia as a
condition of their existence within the city’s border. Every action or failure to
act under these statutes were actions under the color of law.

109.Plaintiff was deprived of her constitutional liberty interest and equal protection
under the Fourteenth Amendment by Duke Ellington by Duke Ellington’s
creation and promotion of policies, customs, or practices that fostered a climate

to flourish where minor female students, including Plaintiff, were left vulnerable

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to and actually were subject to sexual abuse by Defendant Williams, an agent,
servant and/or employee of Duke Ellington.

110.Duke Ellington’s conduct was arbitrary and offensive, shocking the conscience
and interfering with minor female students’, including Plaintiffs, rights and
liberties granted by the Constitution and protected by law.

111.42 U.S.C. § 1983 affords Plaintiff a civil cause of action for damages. 42 U.S.C. §
1988 identifies damages, court costs, litigation expenses and attorney’s fees as
within the remedies available in an action brought pursuant to 42 U.S.C § 1983.

112.As a direct and proximate result of the conduct of Duke Ellington as described
herein, Plaintiff has sustained severe and permanent bodily injury, sickness
and/or disease, including but not limited to sleep disturbance, nightmares,
depression, posttraumatic stress disorder, mood disorder, fatigue, social anxiety,
anger, panic attacks and as a result thereof she has and will continue to
experience: (a) physical and mental pain and suffering; (b) emotional distress;
(c) loss of normal life; (d) medical and counseling expenses; and (e) lost wages.

113.The conduct of Duke Ellington constitutes a violation of trust or confidence,
showing complete indifference to or conscious disregard for the safety and well-
being of Plaintiff and other minor female students.

114.Justice and the public good require an award of punitive or exemplary damages
in such sum that will serve to punish Duke Ellington and to deter like conduct.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.
COUNT IV
(Negligent Hiring, Training, Supervision and Retention- DCPS and Duke Ellington)
115.Plaintiff incorporates her previous allegations as if fully rewritten herein.
116.While Duke Ellington actually employed Defendants Williams, Pullens and
Yates, DCPS instituted and mandated the policy that governed their employment
via the contracts which bound the school.
117.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to employ qualified and competent
teachers and educators to work within its schools. This duty is even greater in
the context of a public school where parents have a trust and faith in the leaders,
a reliance on those who are chosen to lead, and the school acts in loco parentis.
118.There are no records that indicate that Defendant Williams was ever a licensed
teacher in the District of Columbia.
119.There are no records that indicate that Defendant Williams was ever subjected
to any background check in the District of Columbia.
120.Accordingly, there are reports that educators in the arts departments of Duke
Ellington are not required to have background checks or licenses to teach

students at Duke Ellington.

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121.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically Plaintiff to supervise its employees, servants, and/or
agents with access to its minor female students, including Plaintiff.

122.At all times material, Defendant DCPS and Duke Ellington owed a duty to
properly and effectively supervise its faculty and staff, including Defendant
Williams.

123.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to make an appropriate investigation of its employees,
servants, and/or agents who were in or would be placed in a position to come in
contact with minor female students of DCPS and Duke Ellington.

124.At all times material, Defendants DCPS and Duke Ellington owed a duty to
Plaintiff, to terminate any and all employees, servants and/or agents that it knew
or should have known, had engaged or sought to engage in inappropriate
communication and/or unlawful sexual activities with its minor female students.

125.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to train its employees, servants and/or agents to identify
when an inappropriate sexual relationship with a minor female student is
ongoing or is potentially sought and report it accordingly.

126.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and the Plaintiff to thoroughly investigate any and all reports of
inappropriate sexual relationships between students and faculty members or

staff.

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127.Defendants knew, or in the exercise of reasonable care should have known, that
by allowing Defendant Williams to have unfettered access to female students,
privacy in his classroom, and no supervision, female students at Duke Ellington
were at grave risk for sexual abuse.

128. At all times material, Defendants DCPS and Duke Ellington breached its duty to
Plaintiff in the following ways:

a. Failing to hire competent and qualified employees, servants and/or agents
without proclivities to engage in inappropriate sexual conduct against/with its
minor female students;

b. Failing to hire competent and qualified employees, servants and/or agents with
knowledge and training needed to accurately identify sexual predators like
Defendant Williams and act accordingly;

c. Failing to investigate the fitness for employment of Defendant Williams;

d. Failing to train its employees, servants and/or agents to identify and report
when a member of the Duke Ellington staff is engaging in unlawful sexual
behavior with its minor female students;

e. Failing to supervise Defendant Williams in a proper manner to prevent any
inappropriate sexual conduct toward its minor female students including
Plaintiff;

f. Failing to train its employees, servants and/or agents to identify when an
inappropriate sexual relationship with another employee, servant and/or agent
and a minor female student is ongoing and report it accordingly;

g. Failing to terminate or reassign those employees, servants and/or agents who
were aware of the actions of Defendant Williams against Plaintiff and others but
did nothing to stop or report it;

h. Failing to terminate and/or provide remedial measures to ensure the safety of

students once Defendant Duke Ellington knew or should have known of

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Defendant Williams’ propensities for inappropriate contact with female
students;

i. Failing to properly investigate and reasonably warn students once Defendant
Williams’ propensities were made abundantly clear when he was accused of
having a sexual relationship with Plaintiff;

j. Failing to procure or develop policies and procedures to prohibit sexual
relationships between agents or employees and minor students.

129.As a direct and proximate result of Defendant DCPS and Duke Ellington’s
negligence, Defendant Williams committed sexual battery on Plaintiff, causing
her serious and permanent injuries.

130.As a direct and proximate result of the negligence of DCPS and Duke Ellington,
Plaintiff was sexually battered, raped, traumatized, and caused to suffer mental
pain and suffering, psychological injuries, and the loss of capacity for the
enjoyment of life.

131.As a further direct and proximate cause of the negligence of Defendants DCPS
and Duke Ellington, Plaintiff has incurred in the past medical and psychological
expenses for the treatment of her injuries and will continue to incur such
expenses in the future.

132.As a further direct and proximate cause of the negligence of Defendants DCPS
and Duke Ellington, it is expected that the Plaintiff will also incur lost future
earning capacity as a result of these acts. All of said damages are chronic,
permanent and, thus, continuing in nature.

WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of

Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the

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extent allowed by law, plus costs and interest, and demands trial by jury of all issues so

triable as of right by jury.

 

 

COUNT V
(Intentional Infliction of Emotional Distress - All Defendants)

133.Plaintiff incorporates her previous allegations as if fully rewritten herein.

134. To establish a claim for Intentional Infliction of Emotional Distress Plaintiff
must assert that the Defendants conduct was outrageous, that the conduct was
intentional, and that the plaintiff suffered emotional distress as a result.

135.While acting as an agent, employee, staff, administrator, representative, and/or
servant of the Defendants Duke Ellington and DCPS, Defendant Williams
committed sexual misconduct and sexually assaulted Plaintiff his minor female
student.

136.After being notified of Defendant Williams’ sexual abuse of Plaintiff, Defendant
Yates and Pullens willfully and knowingly failed to report the allegations of
sexual abuse to the appropriate agencies as required by law and Title IX.

137.Defendants knowingly, intentionally, and continuously placed Plaintiff Jane Doe
in classes with her abuser Defendant Williams allowing him further access to
abuse her.

138.Moreover, after being informed of the abuse, Defendant Yates and Pullens, as
faculty members tasked with facilitating student emotional development, not

only failed to report as mandated but also failed to simply speak with Plaintiff

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regarding the allegations of sexual abuse or arrange for counseling to ensure her
mental well-being.
139.Defendant Williams’ sexual assault and continuous harassment of Plaintiff and
Defendant Yates’ and Pullens’ failure to report were intentional, willful and
constitute outrageous behaviour.
140.As a direct and proximate result of Defendants’outrageous conduct, Plaintiff has
suffered severe emotional distress with physical manifestations, which will be
substantiated by her medical records and the testimony of medical
professionals.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial
by jury of all issues so triable as of right by jury.
COUNT VI
(Negligence - Against All Defendants)
141.Plaintiff incorporates her previous allegations as if fully rewritten herein.
142.At all times material, Defendants DCPS and Duke Ellington, were required to
comply with Anti-Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-
257; D.C. Official Code § 22-3020.51(4)) and subsequently, School Safety
Omnibus Amendment Act of 2018. D.C. ACT 22-624, enacted 2019 and effective

School Year 2020. It appears that the Defendant Duke Ellington employed a new

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Title IX Coordinator who has implemented new training and education of faculty,
staff, and students after reports surfaced in 2022.

143.At all times material, Defendants DCPS and Duke Ellington, were required to
comply with Title IX and ensure that no student was discriminated against on
the basis of gender and that all received an equal educational opportunity under
law.

144.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to employ qualified and competent
teachers and staff to work within its schools.

145.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and specifically to Plaintiff, Jane Doe, to properly supervise and monitor
its teachers, staff, and educators, and their access and interactions with students.

146.At all times material, Defendants DCPS and Duke Ellington owed a duty to the
public and Plaintiff to train its employees, servants and/or agents to identify
when an inappropriate sexual relationship with a minor female student is
ongoing or is potentially sought and report it accordingly.

147. At all times material, Defendants DCPS and Duke Ellington breached its duty to
Plaintiff in the following ways:

a. Failing to hire competent and qualified employees, servants and/or agents
without proclivities to engage in sexual battery against its minor female

students;

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b. Failing to hire competent and qualified employees, servants and/or agents with
knowledge and training needed to accurately identify sexual predators like
Defendant Williams and act accordingly;

c. Failing to investigate the fitness for employment of Defendant Williams;

d. Failing to train its employees, servants and/or agents to identify and report
when a member of the Duke Ellington staff is engaging in unlawful sexual
behavior with its minor female students;

e. Failing to supervise Defendant Williams in a proper manner to prevent the
sexual battery against its minor female students including Plaintiff;

f. Failing to train its employees, servants and/or agents to identify when an
inappropriate sexual relationship with another employee, servant and/or agent
and a minor female student is ongoing and report it accordingly;

g. Failing to terminate or reassign those employees, servants and/or agents who
were aware of the actions of Defendant Williams against Plaintiff but did nothing
to stop or report it;

h. Failing to terminate and/or provide remedial measures to ensure the safety of
students once Defendant Duke Ellington knew or should have known of
Defendant Williams’ propensities for inappropriate contact with female
students;

i. Failing to properly investigate and reasonably warn students once Defendant
Williams’ propensities were made abundantly clear when he was accused of
having a sexual relationship with Plaintiff;

j. Failing to procure or develop policies and procedures to prohibit sexual

relationships between agents or employees and minor female students.

148.lt was foreseeable to Defendants Duke Ellington and DCPS, that Defendant

Williams’ conduct would cause Plaintiff harm. Defendants continued to place

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Plaintiff in Defendant Williams’ classes; therefore, causing more harm in direct
violation of Title IX.
149.As a direct, foreseeable and proximate result of the negligence of Defendants
Duke Ellington, DCPS, Yates, and Pullens, Plaintiff Jane Doe sustained serious
injuries, suffered emotional harm and torment and the loss of the capacity for
the enjoyment of life, and continues to receive psychological and medical
treatment.
WHEREFORE, the Plaintiff Jane Doe sues Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus pre-judgment and post-judgment interest to the
extent allowed by law, plus costs and interest, and demands trial by jury of all issues so
triable as of right by jury.

COUNT VI
(Civil Assault and Battery- Williams)

150.Plaintiff incorporates her previous allegations as if fully rewritten herein.

151. The elements of an assault are (1) of an intentional act (2) to cause an
apprehension of harmful or offensive contact that causes (3) apprehension of
such contact in the victim.

152.The elements of battery are: (1) an act by a defendant; (2) an intent to cause
harmful or offensive contact on the part of the defendant; and (3) harmful or

offensive contact to the victim.

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153.Defendant Williams, without privilege to do so, committed an assault and a
battery upon Plaintiff as described above when he had sexual contacts with the
Plaintiff.
154.Plaintiff was a minor who was unable to provide consent under law.
155.As a direct and proximate result of Defendant Williams’ assault and battery,
Plaintiff has suffered the damages outlined above.
WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial

by jury of all issues so triable as of right by jury.

COUNT VIII
(Gross Negligence -Principals)

156.Plaintiff incorporates her previous allegations as if fully rewritten herein.

157.Gross negligence is defined as “such an extreme deviation from the ordinary
standard of care as to support a finding of wanton, willful and reckless disregard
or conscious indifference for the rights and safety of others.” D.C. v. Walker, 689
A.2d 40 (D.C. App. 1997).

158.The ordinary standard of care for educators such as Defendant Yates and
Pullens is to report any suspicion of child abuse or neglect to either Metropolitan
Police Department or Child and Family Services as mandated by DC Code.D.C.

Code Ann. § 4-1321.02.

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159.Further, DC has statutory requirements for all education professionals to
safeguard the students and protect them from any form of sexual harm. See Anti-
Sexual Abuse Act of 1994, effective May 23, 1995 (D.C. Law 10-257; D.C. Official
Code § 22-3020.51(4)) and subsequently, School Safety Omnibus Amendment
Act of 2018. D.C. ACT 22-624, enacted 2019 and effective School Year 2020.

160.At all times material, Defendants Yates and Pullens, were required to comply
with Title IX and ensure that no student was discriminated against on the basis
of gender and that all received an equal educational opportunity under law.

161.Defendants Yates and Pullens deviated from that standard of care by failing to
report Defendant Williams’ actions to the authorities and failing to remove
Plaintiff from Defendant Williams’ classroom and authority and protect her from
further sexual abuse by Defendant Williams in direct violation of Title IX.

162.Defendants Yates and Pullens, knowingly and intentionally forced the Plaintiff
to attend classes taught by Defendant Williams after they knew or had reason to
believe that Defendant Williams was alleged to have committed and continued to
commit sexual abuse of a minor Plaintiff.

163.Defendants Yates and Pullens knowing that minor Plaintiff was incapable of
defending herself or having the knowledge to get assistance had possibly been or
was possibly being abused and their failure to report as mandated was wanton,
willful and reckless in disregard of rights and safety of Plaintiff.

164.As a direct and proximate result of Defendant’s wanton and reckless conduct,

Plaintiff has suffered the damages outlined above.

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WHEREFORE, Plaintiff, Jane Doe, sues the Defendants for damages in the amount of
Ten Million Dollars ($10,000,000.00) plus punitive damages, pre-judgment and post-
judgment interest to the extent allowed by law, plus costs and interest, and demands trial

by jury of all issues so triable as of right by jury.

Respectfully submitted,

/S/
Dawn Jackson, Esq. (Bar No. 485118)
JACKSON & ASSOCIATES LAW FIRM, LLC
1300 Caraway Court
Suite 100
Largo, MD 20774
301 883 0800 Tel.
301 883 0801 Fax
djackson@jacksonassociateslawfirm.com
Counsel for Plaintiff

 

/s/
Howard Haley, Esq. (Bar No. 999376)
The Haley Firm, PC
7600 Georgia Ave, NW #416
Washington, DC 20012
V: (202) 810-6329
F: (202) 706-7375
HaleyFirm@gmail.com

Counsel for Plaintiff

VERTIFICATION

I, JANE DOE, HEREBY VERIFY UNDER THE PENALTY OF PERJURY THAT THE
INFORMATION CONTAINED IN THIS COMPLAINT IS TRUE AND ACCURATE TO THE
BEST OF MY KNOWLEDGE AND BELIEF

 

Jane Doe Date

36

 
 

 

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JURY DEMAND

Plaintiff demands trial by a jury on all issues so triable.

[s/
Dawn Jackson (485118)

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EXHIBIT A
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EXHIBIT B
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Superior Court of the District of Columbia 1474

CRIMINAL DIVISION

 

   
    
 
   

AFFIDAVIT IN SUPPORT GF AN ¢ EST WARRANT USw Na:
WAME! NICKNAME: ALEASES; Cen: PDD:
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HOME PHONE NUMBER:

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DEFENDANT'S BUSINESS ADDRESS: , TRELETLAR PRONE NUMBER:

 

 

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DEFENDANT'S ADDRESS:

 

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Minor Victinn (16 year old Male) : a File
LOCATION OF GFFENSE: DATE OF GFFENSE | TIME OF OFFENSE
January 21, 2018 @oo.e hours

CAUTION AND MEDICAL CONDITIONS (CUIC)} Select 4 valid CMC code below for wanted person when using, the caution indieator.
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‘GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

Report:

On October 28, 2049, the Child and Family Services Agency {CFSAj hotline received a report fram a Duke Ellington Schaal
of Arts staff member. The staff meraber regorted that the school received an anonymous email alleging inappropriate
sexual contact hetwean the sender of the email and a current teacher, Mr. FY

lovestigation;
On October 29, 2049, your affiant received the allegation for investigation.

Your afflant elicited assistance in locating all identifiable information pertaining to the email address usec to send the
eimall to the schoo, ar

On November 13, 2045, your afflant was provided information based on the email request. Your affiant learned that the
email was registered to a specific phone number, with a specific iP address. The email address was created on October
22, 2019, which is also the same day that the original email was sant to the schoal.

Your aFfiant conducted a search of tha registered phone number and jearned it was registered to Witness #1. The iP
address was alse searched and it yielded a location that was ultimately determined to be where the complainant and
Witness #1 currently reside.

Your affiant conducted an interview with the reporting person, who stated that upon learning of the allegation, schoo!
officiais met with the named teacher Vr, herein referred to as ths defendant. The officials advised the
defendant of the email and allegations egainst him: but he did nat respond.

 

 

 

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TO: WARRANT CLERK ; _ — _ -
PLEASE ISS1TE WARRANT FOR: SUBSCRIBED AND SWORN BEFORE on Is
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Charge With:

Yirst Degrec Sexual Abuse of a Minor

ASSISTANT UNITED Sy VES ATTORNEY LA (TUDOR) BEF 3
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CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT ISWNO:
DEPENDANT NAME: NICKNAME: ALTASES: CEN: POR:

N/A Mis — plone

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| DEFENDANT'S ATPORESS: HOME PHONE NUMBER:
M/A

 

DEFENDANT'S BUSINESS ADDRESS: CELLULAR PHONE NUMBER:

TELEPHONE? NUMEER:
Kilnot Victim (46 year ghi Maie) Ono File

 

 

; LOCATION OF OFFENSE: DATE OF OFFENSE | TIME GF GFFENSE

 
 

CADTION AND MEDICAL CONDITIONS (CMC) Select a valid CMC code below for wanted person when using the caution indicator.

_ 20 = Armed anil Dangerecs __ 26 = Escape Risk _58=Alevholic _ 20 = Known ta apvse drugs

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January 21, 2018 (| @oois hours

 

 

 

 

GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

The réperting person and schac! Principal responded ta the anonymous email and requested additianal information
from the sender. The sender responded that he or she was enrolled at the school during the time of the conduct but did
net wish to elaborate any further.

Your aMiant requested information regarding Witness #1 from the reporting person, who confirmed that he did attend
the school and now attends a university located outside of the District of Columaia.

Your affiant attempted to contact Witness #1 via text message to the registered phone number af the email and also

sending ar email to the anonyrnaus email address. =
Leu:
The following day, your affiant recelved a text message from another number, which Sest+Aesage stated that ha was

the sender of the email and it was nat Witness #1, The individual identified himself as the complainant, which wes later
confirmed through a search of the phone number, The complainant advised that he wished to rernain anonymous but
was willing to ineet in person,

Your affiant searchad the defendamt’s class rosters and identified the complainant as a previous student of the school
where SM cught (also during the same time period).

On Decernber 4, 2019, your affiant and another Youth and family Services Division detective responded to the
complainant's schoal to conduct an interview. The complainant reported that ke attended Duke Elfington Schoo! of Arts
from September 2015 to his graduation in June 2019. The co molainant advised that the defendant was the Show Choir
Assistant from the complainant’s freshman to Junior years ia high school. The defendant was also the complainant's
Sight Signing teacher beginning bis junior year of nigh school, September 2017.

 
  
 

 

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First Degree Sexual Abuse ofa Minor Weae &.

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Superior Court of the District of Columbia

 

 

CRIMUNAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USw No:
DEFENDANT NAME: NICKNAME: ALIASES; CON: PTHD:

    
   
    
 
 
   
 
 
 

 

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| COMPLAINANT "s NAME TELE) PHONE NUMBER:
Minor Victim (26 year old Male) Gn File
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ee JAnwArY 21, BOLE @aore hours
CAUTION AND MEDICAL CONDITIONS (CMC) Select a valk CMC code below for wanted person when asing the cation indicator.

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“GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

 

 

The complainant stated that the defendant was his teacher and a mentor to him and that he trusted the defendant, and
confided in him about school and personal issues. The complainant advised that in November or December of 2017.
things got “more serious” between the two of them and they began to flirt with one another. They would text and talk
on the phone as well as message one anather on Snap Chat.

The complainant disclosed that in fanuary, 2018, things became physicel between the two of them. The complainant,
the defendant, and several other studants performed at a show at the Kennedy Center, in front of the musical artist
Babyface. After the shew, the entire group went to watch a movie at the AMC Hoffman Theater in Alexandria, VA.

After the movie was over, the group took several Ubers to go home, and the complainant, the defendant, and the fater
learned to be Witness #2, shared an Uber. The olan was to drop the complainant off at his house and then the
defendant would go home. In the initial interview, the complainant advised that on the way home, and after entering
Washington, DC, he reached over and removed the defendant's penis from his pants, and gecformed oral sex on him.
The complainant specifically stated that he gave the defendant “head.” The complainant could not recall what, if
anything, was sald prior te the act or during the act.

ina subsequent Interview, the complainant stated that he performed oral sex on the defendant after dropping Witness
#2 offat her house and prior to arriving at his residence,

The complainant advised that this was the anly sexual act between the two of them but they stayed flirty with one
snother. He also stated that he did not disclose the act to anyone during the school year except his friend, herein
referred to as Witness #3.

ALEPFIAN T'S SIGNATURE:

 
 

 

 

 

 
  

 

 

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First Degree Sexual Abuse of a Minor : aren a :
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HOME PHONE SUMBER:

 

 

 

 

 

 

 

COMPLAINANT'S NAM
Minor Victim (16 year old Male) so ; On File
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January 21,2018 ogo hours
CAUTION AND MEDICAL CONDITIONS {CME} Seteet a valid CuC code hclow for wanted person when using the egution indicator.
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1) & Martial Arts Expart at * Heat Condition oS = Epiensy  _ 90 = Dighatis
_. 18 * Explosive Expertise __. 85 = Hamephilias __7G * Sulcidal __04 @ Other = Mental Health Conditions

 

GIVE BRIEF DESCRIPTION OF WHAT HAPPENED:

 

 

 

The complainant stated that in October, 2019, ha was with friends in a dorm room, to Include Witness #1 and Witness
#3, and disclosed what occurred with the defendant. Witness #1 generated an anonymous small address and, along with
the complainant, sent an email te the schoal from Witness 41's lagtop.

The complainant was asked when the fast thre was that he wes In contact with the defendant. He advised that he had
not spoken with the defendant since graduation in Jung, 2019, but received a taxt message and phone call frorr him on
October 23, 2019, This was also the same day thet the defendant was advised of the allegation and placed on leave at
school. The defendant texted the comalainant and asked when he was gcing to be home fram school because he
wanted hint to recard vocals for 4 few songs the defendant had written. The two began to speak on the phone and,
while speaking an the phone, the defendant sent a text message to the complainant asking him if he still had the phone
application, Snap Chat, as he wished te ask him a questian. When the complainant responded that he did have the
application, the defendant sent him a message asking if he had ever told anyone shout what occurred between them.
The complainant responded that he had not,

The complainant provided your affiant with additional text messages, which occurred after your affiant contacted him in
referance ta an Interview. On November 19, 2019, the complainant texted the defendant and told hirn that he had to
calt him later. The defendant responded Ok and asked if something was wrong. The complainant said that there was but
cou'd not talk about it at that time. Later in the evening, the comolainant calied tha defendant and told him that he was
contacted by your afflant and that he was going to talk tu your affiant. The complainant stated that he did not feal as
though he could lie about whet happened. The defendant asked the complainant to “help him,” said that "this could
ruin” him, and asked him “not to tell the truth.” The complainant said that ne was nat going te fie but to let him think
about it. The following day, the defendant texted the complainant and asked if he was going to call-the defendant back,
the complainant responded that he was not ready.

APPLANTG SIGNATURE:

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First Degree Sexual Abuse of a Minar Veet z.

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AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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CELLULAR PHONE NUMBER:

 

  

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Minor Victiin 016 year ald Male}

On File .

 

LOCATION OF OFFENSE:

 

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January 21, 2018

DATE OF OFFENSE

 

TIME OF OFPENSE
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10 = Martial Aris Expat —* Heart Condition _SheEpilessy _ 902 Dehatic

_ 15 * Exslosive Expertise = Hemophisas fit = Butsida! 1 = Other - Merial Health Conditions
GIVE BRIEF DESCRIPTION O OF WHAT HAPPENED:

 

 

Your afflant conducted an interview with Witness #3 who reported that In May or June, 2018, he was told by the
complainant that he had physical contact with the defendant. The complainent told him that he “did something with
GE Witsress #3 asked him what occurred and the comolainant told him that ne “gave him head.” Witness 43 dees
not recall speaking with the compiainant about it again until toward tha end of October, 2019, He stated that he was
with the complainant and Witness #1, and another friend, when the complaingni cisclosed the incident to them. The
complainant told the group about “giving head” to “JF Witness #1 stated that it was not right and they should do
something about it. They all decicied to make tha anonymous email address and send an email to the school.

On February 5, 2020, your affiant received information relating to the defendant's Uber activity during the time frame of
the reported abuse. Your affiant located a ride on January 20, 2018, that begen at 229 Swamp Fox Road, Alexandria, VA,
which is next to the AMC Hoffman Theater, and ended at ico is the
defendant's address. The ride bagan at 11:38PM and ended at 12:274M cn January 21, 2618. A GPS picture was
provided with the information thai indicates the driver took an exit off of 295 Northbound that would deviate from a
direct path to the defendant's residence. The exit would alsa coincide with the Uber first going ta Witness #2’s residence
and then the complainant's residence before ending at the defendant’s residence.

Your afflant confirmed that on January 20, 2018, there was a show at the Keonedy Center and the aforernantioned
musica! artist Babyface was in attendance.

On March 9, 2020, your afflant conducted an interview with Witnass #2. Witness #2 staled that she used to be close
with the complainant when they were in school but they no longer speak to one another, She reported that the
defendant was her 10” and 11° grace Sight Singing teacher as well as the Music Director for Show Choir and Director of
Concern Chair, both of which she was a meraber of,

  
 

AFFIANTS'SIGH

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TO: WARRANT CLERK
PLEASE ISSUE WARRANT FOR:

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Firet Degree Sexual Abuse of a Minor

 

ASSISTANT UNITED STATES ATTORNEY a WU DGE) RP OPP ons S SUTERIOWEC IRE OF THE
ALLL ne . DISTRICT OF COLUMBIA
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Superior Court of the District of Colufiha# OGRHWOF 474

 

 
 
 
  
    
 
 
 

  

 

 

 

 

 

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT usw NO:
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M/A BA - None
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None visible

HOME PHONE NUMBER:

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COMPLAINANT'S NAME: ELEPH ONE NUTR
Minor Victim (16 year old Male} Cn File

LOCATION OF OFFENSE: DATE OF OFFENSE | TIME OF OFFENSE
ne January 21, 2018 | @oo10 hours

CAUEION AND MEDICAL CONDITIONS (OMC) Sclect a valid CMC code helow for wanted person when using the cantion indicator,

 

 

 

 

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_ 18 * Exolosive Expanise __.85 = Hemoptiiiac ar = Suicidal wot * Otter — Manial Health Conditions
GIVE BRIEF DESCRIVTION OF WHAT HAPPENED: :

 

 

Witness #2 recalled cerforming at the Kennedy Center in front of the artist Babyiace but at first believed that she went
home directly after the shaw, When asked about a possibis trip to the mowies in Virginia, she stated that she did not
recall if this was the same date not but did not believe so. Witness #2 then looked at pictures and vidaas on har ohone
and observed pictures from January 20, 2018, that were marked with the tag AMC Hoffman logo,

Witness #2 stated that she took an Uber home but could not recall if she was In an Uber with the complainant and the
defendant. ,

Your affiant obtained Witness #2’s address and found it to be directly on the Uber GP5 route provided for the defendant
for January 26, 2018. Tas complainant’s residence Is approximately 2.4 miles from Witness 2's residence, and would
take anoroximately 10-21 minutes.

At the time of the offense, the defendant wes 25 years old and in a significant relationship, the comalainant’s teacher,
with the minor cornalainant, who was 16 years old at the tine of the offense.

On March 11, 2020, your affiant presented the complainant a single confirmation photograph which depicted the
defendant. This grocess was conducted via Face Time and audio recorded. Your afffant read the complainant the viewing
sheet Instructions and then showed him the photogragh on the page. Your affiant asked tha complainant three
questions that are located at the bottom of the page. The complainant responded that he knew the individual in the
photograph, has since 2015, and rafers to him as Po Your affiant asked if this was the same individual with
whom he has been speaking to your affient about and he responded that itis.

Based on the aforementioned set of facts and circumstances, your affiant believes that probable cause exists and
respectfully requests a DC Superior Court arrest warrant be issued for the defendant.

es oN
TO: WARRANT CLERK —
PLEASE ISSUR WARRANT FOR: SUBSCRIBED AND SWORN BEFORE ME THIS
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Charge WI: ts newer . \
Wt ad. |

First Degree Sexual Abuse ofa Minor fey we
ASSISTANT UNITED STATES ATTORREY (JUDGE) DBBRFRCGHERK) SUPERIORCOURT OF THE

wey t ' { DISTRICT GE COLURABIA
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ary {Ad gh A Sams } } i Cebit 7 M0 thee iti C et OY if uly eo

 
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 122 of 151

SUPERIOR COURT OF TRE DISTRICT OF COLUMBIA
CRIMINAL DIVISION DCIN:
Locke Be

COMPLAINT faseNo

Tistrict af Celumbia sa:

iFirst MD {Last} (FOI) fICNG)

 

&ise Knaovm As:

 

{First} iMiddics {Last}

Adi: [Ii i_ _

Between on or about May 1, 2015, and on or about August 30, 2018, within the Dusinict of Cohunhis, i being
more than four years older than 8. C., a child under sixteen years of age, that is, 14 years of age, ardl being isa significant
relationship with $.0., engaged in a sexual act with that child and caused that child to engage in a sexual act, that is
penetration of S. C's vulva by [J cenis. (Fiest Degree Child Sexual Abuse, in vielation of 22 D.C.
Code, Section 3008. with Aggravating Circumstanoes, In violation af 22 0.5. Cade Section 2020(aH2) (2001 ed}

Cao-Defendants:

TUL, BEL 01 6|

AfRant’s Same

 

 

Subserized and swarn ta before me this 23 day of March, 2024

 

 

udge} (Begaty Clerk}
WARRANT
To The United States Marshal ov any other authorized federal officer or the Chief af Police of the District of Calambia:
WHEREAS the foregoing complaint and affidavit supporting the allegations thereof have been sub-

mitted, aod there appearing probable cause and reasonable grounds for the issuance of an arrest warrant
dor Mark Mather

¥OU ARE THEREFORE COMMANDED TO BRING THE DEFENDANT BEFORE SALD COURT O8
OTHER PERSON ENUMERATED IN 18 U.S.C. 3041 forthwith to answer sald charge.

 

 

 

 

 

 

 

 

 

ESSERE oo cannnnwnnenennnnnvannnnnnnnnnnMRannnnNMANnniny _-aRRRRRODDIHIRRRRRRRRRRARRRRORR mon
dudge~ Superior Coust of the District of Cofumbia

Title 16: [7] Rule 168; [7] Judge:
Sex: on: CCN ii PDID:
Panering Officer: Kiel Tiley Badge Ne: 021761

OFFICER MUST EXECUTE RETURN
Cflicer’s Name: Date / Time: March 33, 2621
AUSA Signature: Feld AETC Fel il

 

 

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superior Court of the District of Columbia
SRIMINAL DPVISI RY
AFFIDAVIT IN SUPPORT OF AN ARREST WABBANT VSw NO:

 

NICKNAME: 1 AYY3ses" ~~

 

 

 

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EVES: | COMP: [ SCARS, MARKS FARTOGR:

 

 

 

 

 

 

HOME PHONE NUMBER;
Eeemaeeres fees en RR,

MPLAINANT'S NAME; TELEPHONE NUMBER
BE. — Ga file

 

 

 

 

 

 

 

 

fin kine 22, 2020, an Investigatar within BC Pullic Schools (DCPS Comprehensive Allernative Resolution and Equity
{CARE} team fled a report with the DC Child and Family Services Agency that Witness-1 had flied 8 carmpisint against a
former teacher. The former teacher was identified as BBE ato taught st Witness-t’s school. The complaint
alleged that Witness-3 hed been “groomed” > (EET joing thelr time in the echool. The grooming behavior
resulted in Withess-1 engaging in a sexual act with a.

in the initial complaint t the CARE team, Witness-1 reported tha sought them gifts, meals and a special
crystaifar thelr birthday. & personal relationship ensued between the student andl which included visits
by Witne ss-1 to the hame ot in the third visit, Witness-d reported engaging in sexual intercourse with
MR wes: bot Wit ess-1 that they should not be engaging in such behavier due to the age of Witness-1,
Witness] reported that they anly engaged in sexuai activiry ME ss the hed visit, the other occasions anly
imvaived “hanging cut and cuddling.“

 

Witness-] reported the level af attention shown TE .:: unique ard mot shown te all stuckents ov
| | Witness] mentfied hwo other students with whorr had close, persons relationahins with: the
complainant aad Witness-5.

Your afflam, Detective Kiel Tiley, conducted an interview with Witness-1 in reference to the comuaint fled with the
CARE tear.

Witness-2 enified PF as the teacher in the complaint and that he was originally the photography teacher,
although his roles changed while Witness-1 was a student. Aitness-1 described lL; different fram ather
sialf with regard to his vocabulary (using language more age appropriate for students} and due to the arrount of
personal infarrmation he would share with students, Witness-1 reportoo PE sought fo gain the trust af the

  

ee SIGNATURE:
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To: WARRANT CLERK ee

PLEASE ISSUR WARRANT FOR: SLSSCRIBED AND SWEHIN BEFORE METHIS

 

 

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ASSISTANT UNITED STATES ATTORNEY

 

 

SUPERIOR QOURT OF THE DISTRICT OF COLLIM ET.
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 124 of 151

Superior Court of the District of Columbia
CRIMINAL DIVESLORN

 

    
  
  

 

 

 

AFPIDAVUT IN SUPPORT CGP AN ABREST WARRANT TSW Bs
DEFENDANT NAME; NICKNAME: | ALIASES: CON: PEEL :
SEX: | RAG: Ow: BGT WIR EVES: | COMB: | SCARS, MANES. TATTOOS:

 

 

 

 

 

DEFENTRANT’S ADDRESS: ° HOME PHONE NUMBER:

 

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LEPEND ANTS HUSINESS ADDRESS: CELLULAN PRONE NUMBER

   

 

 

 

 

 

 

 

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GIVE BRIEF DESCRIPTION OF WHAT HAPPENET

 

 

students ancl bought gilts for a sonal number of celected students. Witness reported that P| bought
general items for the class, but bought vary specific Hems far others. Witness-] stated the general gifts were intended
to distract fram the personal gifts provided for certain students. [I booutd guy food, drinks and candy for hwo
fernale stadants based on thelr preference bet would then buy general community food for the reat of class.

Witness-d reserted shat would give them money for foud and lusch. as well as birthday presents and rack
specimens for theiy birthday. Witness-l stated this was due to their interest in geningy. Witness] re ported that while
HR #85 888) their teacher, he would speak of ofans post-graduation often te include wislts to his house and
museums, After Witness-1 graduated, they reported visting BB ouse and sending time as friends as
oppased to a normal teacher-student refationship, Witness-4 reported ee :::::< as boing located near
tarkey Thicket Recreating Center and the Brookland Metra Ststion, These visits included canvercation, drinking and

sraoking THC cartridges from TE apc.

Witness- i reported this relationship resulted in sexual intercourse on one occasion with after Witnesa-4
had graduated: Witness-1 was 17 years of age at that tine. Winess-b reported that spoke af their age
during the act and acknowledging Witness-3’s status of a former student, but the seaual act accurred, The complainant

stated that they were enthusiastic during the act as Witness] “really idetized” [BEE arc soughe his affection,
but regretted the act after its completion. Wilnesa-1 described the act asl Snserting his penis into me”

Witness- 2 reported that ne sexual acts arcurred while Witness-L was 2 student, but identified two other students who
hed cmilar relationships with BB Witnessed identified witness-5 as a student that BD bought
numerous gists for, and reported thot [BD discusses his relationship with Witnesa-5 with Witnese-1. Witness]
believed that BE eso vised Winess-5 after graduation at their collage.

 

 

Wh WARRANT CLERK

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SUPERIOR COURT GF TRE DISTRICT OF OOLUMBLA

 

   

  
   
     

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superior Court of the District of Columbia

 

 

 

 

CRIMINAL BIVISTON
ASPIBAVIT IN SUPPORT GF SN ARREST WARRANT USw NGOs
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Witriess~1 also identified the complainant, whe directly disclosed a romantic reiationshap with RM to winess-
1. The compiinant disclosed to Witness-i that during thelr sophomore year the carapiainant developed a ramantic
relationship at whe fell in love with the camplsinant. The complainant disclosed going to

BE vase where they would engage in oral sex, out [BBB sliegedly did not wish to engage in ather acte
because of thelr status a3 8 student. wWitness-1 believes these events took place in either 3014 or 2045, The
comiplainiant disclosed this in a classroom setting during their seniar year, possibly 2016. The complainant began by
apeeking with a smail group of friends but addressed the whale clase ag the camelainant noticed their attention. The
cornplairiant steted she wanted to address the rumors aboot A and to comfirm them. The cornpiginant stated
that would “definitely always lave me” and they ctopped talking because the complainant's Farndy would
At underitand.

Your affiant was able to contact the complainant via telephone in reference to the allegations, who agreed to éneak
about her tre at the schaal attended by Witnass-i and the complainast. The complainant confirmed thar she attended
Witnese- I's school from 2012-2017. Your affiant explained the scone of the investigation and the complainant stated
that they understecd why they contact was made, The complainant reported that during high school a persan teak
advantage of the complainant, that person was 4 visual arts teacher. The complainant regarted that at the the, she
was 14 years old and the teacher was 33 years old. The complainant identified the teacher iim

The complairiant reported that | sending the complainant letters ard began taking her horne from
school. [RBBB oiso began inviting the complainant over ta his home, arc on one occasion attempting ta have
sexual intercourse with the complainant, The complains nt reported that she was a virgin at that time. THis Incident
vecurred aver the summer at his home, in hs bedroom. [BBBBBattempted to penetrate the complsinant, which
frightened the complainant and made the complainant cry. This occurred while the complainant was s student in the
surmmer of 2015 ar 2016.

 

AFFIRNT'S SIGNATURE:

TO: WARRANTCLERK een

PLEASE ISSUE WARRANT FOR: — SURSCRIBED AND SWORN BEFORE Me TMs
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ASSESTANT UNITED STATES A] TORN EY a u DOR) DEPPUTY SLERR)

SUPERIOR COURT OF THE DISTRICT OF COLUMELS

 

 
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superior Court of the District of Columbia
CRIMINAL DIVISION

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

APPIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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The complainant began cdernonstrating an amotiona! feiponse to the interview, audibly crying. Your affiant then offered
4 Conduct the interview in person and the comipivinant agreed, Your afflant met the complainant in Person ora later
date,

The complaivant reported the relationship with [BEBE bcea5 in 2015 while attending an afterschant! program
coortmated by BB students weutd watch movies and da coursework [BBB so would drive a group
of students home after the program each night- dropping the complainant off fast of the group. Ga ane such Occadiant,
Is May of 2015, before the complainant turned 16, BBB kissed the complainant.

The complainant reported that this kiss occurred rT «<2. near the campisinant’s home, The
complainant disclosed telling [BB hc complainant had never bese kissed before and he replied that he would
showher, The complainant described the kiss as “on the mouth with tongue.” inside of Ris red sport utility vehicle.

GE & 28: drove the complainant home,
fF began buying the complainant random dems at schoal, grompting classrnates ta notice, Po

would alse touch the complainant's knee under the table during classes and would routinely meet individually with her
te discuss thely relationship under the guise of instruction. This relationship, which the complainant described as
“rarnantic,” continued for a year.

The complainant regorted i summer she visited IB bors on routtipis cecasions, describing its
ideation int Northeast OC, near Turkey Thicket Recreation Canter fof nate. PE <sisteres OMV adciress is Q.4
miles from Turkey Thicket Recreation Center). These visits included movies and food, which BBB suc buy for
the complainant. PF WOuld routinely walk her borne from school and they would frequent parks along the

   

   
   
 

 

 

 

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
     
  
  
  

 

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Superior Court of the District of Columbia
CRIMIMAL DEVIShOh

 

 

 

 

APPUDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
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“GIVE BRIER DESCRIPTION GR WHAT HAPPENED, 7

 

 

way. The complainant's echoal in 2015 was located ina diferent location thar its current location, allowing the
compliriant to walk Rome,

The cammlainant described ane snecific day she sment vi On this day, they were diccamssing their
relationship status SB cicaves his wishes to marry and meet her farnily. TE «sussex how
thelr relationship would look when she tumed 18 becauce he did not want people ta know how it began, wanting to be
discreet. The complainant then told him that she was a virgin, and she did not want to have intercourse with him, The
complainant told ae: she did mat want to give him her virginity due te his age, position as her teacher, arid

how she felt it would affect her mentally, [RM oucstioned her resistance to having intercourse but
ackniowde deed her concerns.

on the game day, they returned te the horne of a. Late inte the might, they were laying on a futon and were
kissing each other. The complainant reported that he “forced himself upon her by penetrating her vagina with his
penis. This eccurrad inside iii” bedroarn. The complainant reported that she had recantly coved
BEBE sh: did not want ta engage in vaginal intercourse, as she was a virgin. The complainant stated she was WESTIN 3
“blue thin dress" that BBE emoved, as well a3 his awn clothing. [BB was touching her breasts,

vaging, her lings, and neck, The complainant reported they were both nude at this time, with|Evearing boxer
shorts.

The completa? reported che was “following his feed” during this incident as she was unsure what to do inthis
shuatien, The complginant reported that digitally penetrated her and then penetrated her vaging with iis
pends, The commainant reported that had penetrated her for approximately LO seconds, felt pain, ther
pushed [BBE sf of ner. the complainant instantly began crying and described experiencing a “wave of
amations.” The complainant questioned why he would penetrate her despite explicitly telling him she did net want that

   

   
 

 

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TO: WARRANT CLERK —

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Superior Court of the District of Columbia
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APPIDAVIT IN SUPPORT OF AN ARREST WARRANT RSW NO:
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ww te PExplosive Expertise 85 = Hamoghiias it Suicksh Ot = Other ~ Manta! Health Conditions

GIVE BRIEP DESCRIPTION OF WHAT HAPPENED:

 

 

 

to Ragen, fF than held her to attenip? to console her, and they both then took « shower together. | |
WME 2 eclogized and took the complainant hore after the shower,

The complsinast reported this incident, and all the hore visits, occurred in the summer of RODS: the ouvrigisinant would

Reve bewn 15-years-alel at this time. The complainant disclosed further that on the first visit te EE 5. he
performed oral sex by licking her vagina with his misuth.

‘The complainant disclosed that she engaged in nurnerous romantic encounters with | Fram kissing,
to “fesling her up" in his car and oralsex. Due to the high number of events, the complainant had rouble differentiating
betwhen events. The complainant reperted that an ome occasion, whi! P| performed oral sax on the
complainant, she recipracated and performed aral sex om f In his bedroom.

BR «*:tinely cold the complainant ty avoid documenting any evidence of their relationshig in weit oc
ia taid the complainant that she was the youngest girl he had talked to but began talking to 3 classmate saon after
theirrlationshia ended, The camplsinant beflewad this relationship ta he remantic and sirnilar to her own and
identified the dassmate as Witness-5. The complainant alee ranorted hearing of rumors that other students who were
mwoled with [BES ter she graduated, nut those rumors could not be eubstantiated,

The compilsinant identified Witsess-2 and Wiiness-4 as close friends in which she confided about her romantic
relationship with FT The complainant stated she confided in them white the reistlanship was active.

Ai the conclusion af the interview, the complainant was presented with 2 single colar ohotegraph of ID wich
adate of birth im The complainant identified [BBB and stated she has known him for 6 years,
Hereinafter BBR shail se referred to as Sefendant

Eas SICUS TURE:

 

 

 
 

 

 

 

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superior Court of the District of Columbia
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The complainant grovided gersanal photographs she had taken of Deverchaere ane of which aopears to show him
sitting in close proximity te the shone/camers on a park bench and another appears to depict Defendant [Bis a
classroom setting with the caption “lave of my life.” The individual in the pictures appears to be Defendant |

The com plainant also provided screen shots of rnesseges between the complainant’s device ard “sir hea’ and il
i. The complsinant identified Defendant Walker as the person of which both communication threads were
corresponding. Varia messages from "sir laa” request photographs and speak of the com glainant’s festures, One
message states, "your eyes are amazing, | hist wonder how they fook after yaucry.” Another thread discusses
Gefendant JI moving to itely and the complainant accorapanying him, Defendant BI esks, “so you really wart
to ise with me? You want me to walt for yau?” The complainant replies “yes Byes.” and Defendant responded “Y
know, It rreans more now, Especiaily with you telling me.“

The complainant also provided a Hand-written letter to your afflant and identified TTT: RS author, The lerres

discusses the complzinant’s “beauty and one ling reads, “yOu exude beauty, sometimes it’s overwhelming.” The

hancheriting on the letter apngars ta be similar with handwriting contained in the employes files completed ni
BRE gusing bs employment at the complainant’s schol.

Your wfant had occasion to speak with Witness-2 on a later date. Witness? confinmed having 3 frigruishio with the
complairaat arid attending the same school frarn JOLS-2O17,

Witress-2 reported observing the complainant getting close with a teacher, identified as Defendsoti MM was wrere
the complainant letters and would buy the complsinant small gifts. The complainant hegan te speak apaenty shout going
on “dates” with Defandsnt RBBB as weil. The complainant spoke about going to a park with Defendant here
they would kiss anc da “other stuff.” Witnese-? described one incident that the commainant disclosed about Gefandant

oy NPS SIGNATURE:

 

 
 

 

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 130 of 151

Superior Court of the District of Columbia

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CRIMINAL DIVISION
AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT USW NO:
“DEPENDANT NAME: 0” RICKNARTE:  TATTASES: Cenc Po " a:
we SEX: | BRACE: | DOR: PHO R E RVRES TOOMPDTSCAks, MARRS FAPTOOS:
a | a. ee
“DEFEND ANTS ADDRESS: HOME PHONE NUMBER:
a RE cee

) PEFENDANT'S BUSINESS ADDRESS; CELLULAR PHONE NUMBER:

Stkitt'Sd MM SR A Vd. AAI SSS AAA ASAE
oO! NANT 'S NAME: TELEPHONE NUMBER, "|
So _ cousuunmnnnnnnnnnninsnununenntannte sess Ga ile csospaeynaneseenmnannd
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ae May 2035 iPM Hours

 

 

 

 

 

 

 

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EVE BRIEF DESCRIPTION OF WRHATHAPPENED: _. “ceettseseeeeee

 

 

 

Welker lifting the complainant's shirt and touching her hreaste in his vehicle, The complainant alse spoke te Witness-2
about staying the night at Defendant BE +225 and describing their relationship as romantic in Ratuwe. Witness
believed the relationship ended im 2016 at the request of the complainant.

Witness-2 reported that after the relationship between Defendant ae the complainant anded, he became clase
with another student who was identified ac Witress-S, Witness? reported that Defendant be can 8 romantic
relationship wh Witness-5, but it was unclear if thelr relationship began before Witness-5’s graduation. Witriess-5
spoke to Witness-2 of the relationship and reported that Defendara II did nat want it te be romantic unt after
Witress-S graduated. Wiress-2 reported that Defendant acted similady to Witness-5 as he did to the
complainant, but Witnass-2 had ne knowledge of any sexual encounters prior to Witness-5’s graduation,

Your affiant had occasion to speak with Witness-3 on a later date. Witness-3 canfirmad attending the same schoal as
the complanant and mainteining @ friendship with the complainant aad others named in this iwestigatian. Witness-3
confirmed that Defendant [was a teacher at the school Witness-3 had attended, but witness-2 teported haying
no knowledge of a romantic relationship he may have had with any student.

Your affiant had conducted a separate Investigation involving the achool that employed defendant enc attended
by the above witnesses. Witness-4 was interviewed in reference to the separate investigation and provided information

relating ta Defendant TE

Witness-4 reported maintaining a reiationshis with £ sefoncarrt RT after graduating and considered him a friand and
mentor, Witness-4 reported that Oefendantlfwas close with students and would aften take groups out for dinner
and routinely had students visit hls home. Witness-4 reported hesring that Defenda ntlEbed been sexually
involved with a student before the student graduated. Witness-4 reported that Defendane ll had osed his age and

 

 

 

 

 

"YO: WARRANT CLERK

PLEASE ISSUE WARRANT FOR- SUBSCRIBED AND SWORN BEFORE ME THis
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ASSISTANT UNITED STATES RPTORNEY UUDGE: DETPITV CLERK}

SUPRREIR COURT OF THE DISTRICT OF COLUMBLA
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 131 of 151

Superior Court of the District of Columbia
CRIMINAL DIVISIO
AFPIDAVIT PN SUPPORT OF AN ARREST WARRANT Uew NO;

 

     
  

DEFENDANT NAME; BRCRRAME: ALAASES: Cas i PRHDs

 

 

 

 

 

 
   
 

 

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ww. 1 * Explosive Expenses Ge Hemophitias 70 = Ganong! ft * Ohne > Mental Heats Sendcions

 

GIVE BRIEF PESCHIPTION OF WHAT HAPPENED:

 

State to Manipulate the student, wha wes now coming to terms with the psat and atkiressing what had tranapired.
Witness-<4 stated that Defendant had frequently drives this student home as part of their relarin mshin.

Your affant made contact with Witness-5 in referance to the investigation of Defendant . witress-s afirraed
attending the school where Defendant wos a teacher. Your affiant explained to Witness-5 that the scope af the
investigation involved interections between students and facully during Witness-5’s time at the school Upan learning
of the scope of the investigation, Witness-5 declined to speak with law enforcement ary further.

Your afflant attempted to provide Delesdan fi an opportunity te provide a statement in referanice to the
investigation. Your affient traveled to the Hsted residence of Hefandart A and encountered an individual wha
stated trary lived at the location with defendant The individual scoepted your effiant’s contact information ang
agreed to praviede it te Calendar Gefendant MM contacted the undersigned vie telephare later and stated
that due to having laced accusations previously, he was unsure shout providing @ Statement te your afflant, Defendant
| not yet provided a statement in reference to this Investigation.

 

At the Unve of the reported offenses, the complainant wag 25 years aid and Defendant | was 35 - 26 years old,
defendant MM encioyes records indicated that he was ernployed at the complginant’s school behween 3044 and
2013, when Defendant [resigned The complainant aniended the china between 2013 and al? and reported
that Oefendara was her visual arts teacher at the school,

 

Defendant Be ina significant relationship with the complzinant and over the age of 18 when he engaged in
sexual scis with the complainant, a child per OC Code. Your affiant halleves there to be caulficient probable cause for the
arrest of Defendon for the appropriate charges.

ANTS SIGNATURE:
ER oer

    

 

 

  

TO: WARRANT CLERK ees .
PLEASE ISSUE WARRANT FOR: SUBSCRIBED AND SWORN BEFORE ME THIS
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SUPERIOR QUORT OF PHE DISTRICT OF COE Urs
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 132 of 151

THE SUPERIOR COURT FOR THE DISTRICT GF COLUMBIA
Civil Division

 

FANE DOE *
RB
Plan tify, *
*
ve *
* CASE NO.. 2022 CA 000814B
DUKE ELLINGTON SCHOOL % Judge-in-Chambers
OF THE ARTS PROTECT, ef al. *
oe
Defendants. *
B
ORDER

 

 

 

Plaintiff's Motion to Proceed under Pseudonym, having been read, considered and
this Court having determined that the request is for good cause;

itis this 16th day of February , 2022,

 

itis ORDERED, that the Plaintiff's Motion to Proceed under Pseudonym is hereby,

GRANTED:

\

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on OY ee pase
STEN SEAR YY]
: ey

pone oege

 

 

judge-in-Chambers
Joan Zeldon, Senior Judge

Copies to:

Dawn R. Jackson, Esq.

Duke Ellington School of the Arts
District of Columbia

DC Public School System

Mitzi Yates

Rory Pullens

 
 

Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 133 of 151

Superior Court of the District of Columbia

CIVIL DIVISION- CIVIL ACTIONS BRANCH

 

 

 

INFORMATION SHEET
Jane Doe Case Number, 2022 CA 000814 B
VS Date: 02-17-2022
Duke Ellington School of the Arts Project, et al. One of the defendants is being sued

 

in thetr official capacity.

 

 

 

 

 

Name: (Please Print) Relationship to Lawsuit
Dawn Jackson, Esq. -
Firm Name. Attomey for Plainaff
Jackson and Associates Lawfirm Ci Self (Pro Se)
Telephone No.: Six digit Unified Bar No.: .
HRD 485118 CJ other:
TYPE OF CASE: Co Non-Jury LJ 6 Person Jury 12 Person Jury
Demand: § $10,000,000 Other:

 

PENDING CASE(S) RELATED TO THE ACTION BEING FILED

 

 

 

 

Case No.: Judge: Calendar #:

Case No.: Judge: Calendar#:

NATURE OF SUIT: (Check One Box Only}

A. CONTRACTS COLLECTION CASES
(J 01 Breach of Contract (4 14 Under $25,000 Plif. Grants Consent [7 16 Under $25,000 Consent Denied

02 Breach of Warranty [_] 17 OVER $25,000 Plif. Grants Consent{__[18 OVER $25,000 Consent Denied

L_] 06 Negotiable Instrument [| 27 Insurance/Subrogation [_]26 Insurance/Subrogation
[_] 07 Personal Property Over $25,000 Pitf, Grants Consent Over $25,000 Consent Denied

[_] 13 Employment Discrimination [[] 07 Insvrance/Subrogation

[ [34 Insurance/Subrogation

1 15 Special Education Fees Under $25,000 Pltf. Grants Consent Under $25,000 Consent Denied

| 278 Motion to Confirm Arbitration

Award (Collection Cases Only)

 

B. PROPERTY TORTS
CI 01 Automobile LJ 03 Destruction of Private Property | 05 Trespass
L_] 02 Conversion [_] 04 Property Damage

[_] 97 Shoplifting, D.C. Code § 27-102 (a)

 

 

C. PERSONAL TORTS

 

(7) O1 Abuse of Process (_] 10 Invasion of Privacy (7717 Personal Injury- (Not Automobile,
02 Alienation of Affection [~] 11 Libel and Slander Not Malpractice)
L_] 03 Assault and Battery _ (112 Malicious Interference 18Wroneful Death (Not Malpractice)
[_ | 04 Automobile- Personal Injury L_] 13 Malicious Prosecution LC} 19 Wrongful Eviction
[_] 05 Deceit (Misrepresentation) | [[] 14 Malpractice Legal [-} 20 Friendly Suit
{_] 06 False Accusation []15 Malpractice Medical (ackuding Wronefill Death) [-]21 Asbestos
[J 07 False Arrest (CJ |64 Negligence- (Not Automobile, [_] 22 Toxic/Mass Torts
L_] 08 Fraud Not Malpractice) [423 Tobacco
L_] 24 Lead Paint
SEE REVERSE SIDE AND CHECK HERE iF USED

CV-496/Jume 2015

 
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 134 of 151

Information Sheet, Continued

 

 

¢, OTHERS
L_] @1 Accounting [__] 17 Merit Personnel Act (OFA)
[_] 02 Att. Before Judgment (D.C. Code Title 1, Chapter 6)
[[] 95 Ejectment CI 18 Product Liability
[-] 09 Special Writ/Warrants
(DC Code § 71-941) Lj 24 Application to Confirm, Modify,
L_] 10 Traffic Adjudication Vacate Arbitration Award (DC Code § 16-4401)
(711 Writ of Replevin [_] 29 Merit Personnel Act (OHR)
(1 12 Enforce Mechanics Lien C] 31 Housing Code Regulations
[__]16 Declaratory Judgment [1 32 Qui Tam
[| 33 Whistleblower
i.
[1 03 Change of Name [J] 15 Libel of Information [7] 21 Petition for Subpoena
L] 06 Foreign Judgment/Domestic [_] 19 Enter Adminisirative Order as [Rule 28-] (b)]
[J] 08 Foreign Judsment/International Judgment [ D.C. Code § [1 22 Release Mechanies Lien
[_] 13 Correction of Birth Certificate 2-1802.03 (h) or 32-151 9 (aj C] 23 Rule 27(aj{1}
[] 14 Correction of Marriage [7] 20 Master Meter (D.C. Code § (Perpetuate Testimony}
Certificate 42-3301, et seq.) [] 24 Petition for Structured Settlement
LC] 26 Petition for Civil Asset Forfeiture (Vehicle) C] 25 Petition for Liquidation

[_] 27 Petition for Civil Asset Forfeiture (Currency)
[_] 28 Petition for Civil Asset Forfeiture (Other)

 

 

BD. REAL PROPERTY

[__] 09 Real Property-Real Estate [_ ] 08 Quiet Title
12 Specific Performance L_] 25 Liens: Tax / Water Consent Granted
04 Condemnation (Eminent Domain} LJ 30 Liens: Tax / Water Consent Denied

[_] 10 Mortgage Foreclosure/Judicial Sate [_]31 Tax Lien Bid Off Certificate Consent Granted
[J 11 Petition for Civil Asset Forfeiture (RP)

 

Wi W—— 02-17-2022

Attomey’s Signature . Date

 

CV-496/ Tune 2015

 
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 135 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

  

F of cath

J an

 

 

 

e Doe
Plamtift
“ 2022 CA 000814 B
Case Number
Duke Ellington School of the Arts Project
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq.
Name of Plaintiff's Attorney

 

  

 

 

 
  

 

 

 

1300 Caraway Court, Ste. 100 By . TH
Address Gs é saeDeptity Clerk

Upper Marlboro, MD 20774 x CT OR cone
301-883-0800 Date 2/25/2022

Telephone

21 Bik Was i (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé co mot bai dich, hay goi (202) 879-4828

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IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO 80, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500

Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espaficl

CV-3110 [Rev. June 2017} Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 136 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5606, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.dcecourts.gov

 

Jane Doe

 

Demandante
contra

Numero de Caso:

 

Duke Ellington School of the Arts Project

Demandado

 

CIFATORIO
Al susodicho Demaadado:

Por ja presente se le cifa a comparecer y se le require entregar wna Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la enirega del citatorio. $i usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por corres una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio,

A usted también se le require presentar la Contestacion original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direccién Subsecretario
Upper Marlboro, MD 20774

301-883-0800 Fecha

Teléfono
Mi Bhs, iT BAR (202) 879-4828 Veuillez appeier au (202) 879-4828 pour une traduction Dé cd mét bai dich, hay goi (202) 879-4828
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IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR L4 DEMANDA DENTRO DEL PLAZO
EXIGIDO,

St desea conversar con un abogado y Je parece que no puede pagarle a uno, Lame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 137 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

 

 

 

 

Jane Doe |
Plaintitt
vs.
Case Number 2022 CA 000814 B
Rory Pullens
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Govenmnent, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
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N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
jadgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq.
Name of Plaintiff's Attomey

1300 Caraway Court, Ste. 100 By

Address
Upper Marlboro, MD 20774

301—883—0800 Date

Telephone
MSE Bik (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé cd mét bai dich, hay goi (202) 879-4828

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2/25/2022

 

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
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See reverse side for Spanish translation
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Cy-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 138 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
Numero de Caso:
Rory Pullens
Demandado
CITATORIO

Al susodichoe Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitm (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted estd siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Coniestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de ia parte demandante. El nombre y direccidén del
abogado aparecen al final de este documento. Si el demandado no tiene abogada, tiene que enviarle al demandante una
copia de la Contestacién por correo a Ja direccién que aparece en este Citatorio.

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Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
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demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.

 

 

 

 

 

 

Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante
1300 Caraway Court, Ste. 100 Por:
Dtreccién Subsecretario
Upper Marlboro, MD 20774
301-883-0800 Fecha
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IMPORTANTE; SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER. VENDIDOS PARA PAGAR EL FALLO. SI
USTED PRETENDE OPONERSE A ESTA ACCION, NO_DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, ame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 3000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Cry. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 139 of 151
Superior Court of the District of Columbia
. CIVEL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

 

 

Plamtiff
v8,

2022 CA 000814 B

Case Number

 

Mitzi Yates
Defendant

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq.
Name of Plaintiff's Attorney

 

 

 

 

 

 

1300 Caraway Court, Ste. 100 By

Address

Upper Marlbcro, MD 20774

301-883-0800 Date

Telephone

DSR es Bez (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction é cd mot bai dich, hay goi (202) 879-4828

oS SS ANP, (202)879-4828 Meee ees bore aeTT PP (202) 879-4828 Lem

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT, IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 3000 at 500

Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccion al espafiol

CV-3110 [Rev. June 2017] Super, Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 140 of 151

TRIBUNAL SUPERIOR BEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

Demandante
contra

Numero de Caso:

 

Mitzi Yates

 

Demandado

CITATORIO
Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintiin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted est4 siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Cotumbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. $i el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m, de lunes a viernes 0 emtre las 9:00 a.m. y las 12:00 del mediodia
los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direccién Subsecretario
Upper Marlboro, MD 20774.

301-883-0800 Fecha
Teléfono
ete, ad] SE (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé cd mat bai dich, hay goi (202) 879-4828

eH eber: lesled 902) 879-4928 Serie key PANIC BOD AgPYF (202) 879-4828 seat

 

 

 

IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
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EXIGIDO.

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Society (202-628-1161) o el Neighborhood Lega! Services (202-279-5100) para pedir ayuda o venga a Ja Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Yea al dorso ef original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 141 of 151

Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20061
Telephone: (202) 879-1133 Website: www.dccourts.gov

 

 

 

 

Jane Doe
Plaintitt
¥S.
- Case Number 2022 CA 000814 B
Mark A. Williams
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Sunamons.

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N.W., between 8:30 am. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

         

Dawn Jackson, Esa.
Name of Plaintiff's Attomey

1300 Caraway Court, Ste. 100 By

Address
Upper Marlboro, MD 20774

301—883—080 Date

Telephone
WB ishT BR (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé cé mét bai dich, hay poi (202) 879-4828

Hoe Rat AIRE, (202) 870-4829 BSE enor FOR AeTeTeT (202) 879-4828 e.2are

 

 

 

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF HIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
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ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME,

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccidn al espafiol

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 142 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
neue Numero de Caso:
Mark A. Wilhams
Demandada
CITATORIO

Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona 0 por medio de un abogado, en el plazo de veintitn (21) dias contados después que usted haya recibido este
citatorio, excluyende el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacidn al abogado de la parte demandante. El] nombre y direccidén del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5600, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sébados. Usted puede presentar la Contestacién original anie el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. $i
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.

 

 

 

 

 

 

Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante
1300 Caraway Court, Ste. 100 Por:
Direccién Subsecretario
Upper Marlboro, MD 20774 ,
301-883-0806 Fecha
Teléfono
SF Bis (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé c6 mat bai dich, hay goi (202) 879-4828
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IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELD[A CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
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EXIGIDO.

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Society (202-628-1161) o ef Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 143 of 151
Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5600 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

 

 

Plaintitt
vs.

Case Number 2022 CA 000814 B

 

District of Columbia Public School System
Defendant

 

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to setve your
Answer. A copy of the Answer must be mailed to the attomey for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

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N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
jedgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq.
Name of Plaintiff's Attorney

 

 

   

 

 

 

1300 Caraway Court, Ste. 100 By APR

Address By / SDdp@ty Clerk

Upper Marlbore, MD 20774 LOR (OW
301-883—0800 Date 2/25/2022

Telephone

20s Bie aT Hie (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé c6 mot bai dich, h4y goi (202) 879-4828

HSS FISPAIR, (202) 8794828 Pe carCe PRP ATTY (202) 879-4828 ezore

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WIFHHELD OR PERSONAL PROPERTY OR
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If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espafiol

CV-3110 [Rev. June 2017] Super, Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 144 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov

 

Jane Doe

 

Demandante
contra

Numero de Caso:

 

District of Columbia Public School System

Demandado

 

CITATORIO
Al susodicho Demandadao:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno dei Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de la parte demandante. E] nombre y direccidén del
abogado aparecen al final de este documento. $i el demandacto no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las §:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodia
los sabados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en ef plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.
Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1306 Caraway Court, Ste. 100 Por:

 

 

 

Direceién Subsecretario
Upper Marlboro, MD 20774

304-883-0800 Fecha

Teléfono
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Heperepes leulet Wty 202) 879-4828 Seta kL kee PAACE FORM ATT EP (202) 879-4828 Bear

 

 

 

IMPORTANTE: Sl USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. S! ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Sl
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Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
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Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 145 of 151

Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www-.dccourts.gov

 

 

 

 

Jane Doe
Plaintiff
ve: 2022 CA 000814B
; . . Case Number
District of Columbia
Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
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the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

Dawn Jackson, Esq.
Name of Plaintiff's Attorney

  

1300 Caraway Court, Ste. 100 By

 

 

 

 

 

Address sDegeity Clerk

Upper Marlboro, MD 20774 < We
301-883-0800 Date 2/25/2022

Telephone

MS AE WA Bis (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé cd mot bai dich, hay goi (202) 879-4878

Hes S18 ANB, (202)879-4828 Biggs aa = carCT acer atiTy (202) 879-4828 Bear

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A FODGMENT BY DEFAULT
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See reverse side for Spanish translation
Vea al dorso la traduccién al espafiol

CV-3110 [Rev. June 2017] Super. Ct. Civ. R. 4
Case 1:22-cv-00811-JEB Document1-2 Filed 03/24/22 Page 146 of 151

TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.decourts.gov

 

 

 

 

Jane Doe
Demandante
contra
. . . Niznero de Caso:
District of Columbia
Demandado
CITATORIO

Al susodicho Demandado:

Por la presente se le cita a comparecer y se Je require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted est siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacion, Tiene que
enviarle por correo una copia de su Contestacion al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en. este Citatorio.

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usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeldia contra usted para que se haga
efectivo el desagravio que se busca en la demanda.

Dawn Jackson, Esq. SECRETARIO DEL TRIBUNAL

Nombre del abogado del Demandante

1300 Caraway Court, Ste. 100 Por:

 

 

 

Direceién Subsecretario
Upper Marlboro, MD 20774

501-883-0800 Fecha

Teléfono
DE EE ST BE (202) 879-4828 Veuillez appeter au (202} 879-4828 pour une traduction Dé cé mét bai dich, hay goi (202) 879-4828
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IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELD[A CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, ©
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

CV-3110 [Rev. June 20177 Super. Ct. Civ. R. 4
  

@ a

y 4 CIVIL DIVISION Civil Actions Branch

500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Telephone: (202) 879-1133 * Website: www.dccourts.gov

Case 1:22-QE RRR DURA UE Mrs FUR OPES UMBRR 247 of 152

JANE DOE
Vs. C.A. No. 2022 CA 000814 B
DUKE ELLINGTON SCHOOL OF THE ARTS PROJECT et al

INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“Super. Ct. Civ. R.”) 40-1, itis hereby ORDERED as follows:

(1) This case is assigned to the judge and calendar designated below. All future filings in this case shall
bear the calendar number and the judge’s name beneath the case number in the caption.

(2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of
copies of (a) the summons, (b) the complaint, and (c) this Initial Order and Addendum. The court will dismiss
the claims against any defendant for whom such proof of service has not been filed by this deadline, unless the
court extended the time for service under Rule 4(m).

(3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the
complaint by filing an answer or other responsive pleading. The court may enter a default and a default
judgment against any defendant who does not meet this deadline, unless the court extended the deadline
under Rule 55{a).

(4) At the time stated below, all counsel and unrepresented parties shall participate in a remote hearing to
establish a schedule and discuss the possibilities of settlement. Counsel shall discuss with their clients before the
hearing whether the clients are agreeable to binding or non-binding arbitration. This order is the only notice
that parties and counsel will receive concerning this hearing.

(5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the
Conference once, with the consent of all parties, to either of the two succeeding Fridays. To reschedule the
hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
business days before the scheduled date.

No other continuance of the conference will be granted except upon motion for good cause shown.

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil

cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders

SEARLE EI RE Ae

Chief Judge Anita M. Josey-Herring

Case Assigned to: Judge ROBERT R RIGSBY

Date: February 25, 2022

Initial Conference: REMOTE HEARING - DO NOT COME TO COURTHOUSE
SEE REMOTE HEARING INSTRUCTIONS ATTACHED TO INITIAL ORDER

 

10:00 am, Friday, May 27, 2022
Location: Courtroom 320
500 Indiana Avenue N.W.
WASHINGTON, DC 20001

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Case 1:22-cv-00811-JEB Document 1-2 Filed 03/24/22 Page 148 of 151

ADDENDUM TO INITIAL ORDER AFFECTING
ALL MEDICAL MALPRACTICE CASES

D.C. Code § 16-2821, which part of the Medical Malpractice Proceedings Act of 2006, provides, "[a]fter
action is filed in the court against a healthcare provider alleging medical malpractice, the court shall require the parties to
enter into mediation, without discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference (ISSC*"), prior to any further
litigation in an effort to reach a settlement agreement. The early mediation schedule shall be included in the Scheduling
Order following the ISSC. Unless all parties agree, the stay of discovery shall not be more than 30 days after the ISSC."

To ensure compliance with this legislation, on or before the date of the ISSC, the Court will notify all attorneys
and pro se parties of the date and time of the early mediation session and the name of the assigned mediator. Information
about the early mediation date also is available over the internet at https://www:dccourts.gov/pa/. To facilitate this process,
all counsel and pro se parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the ISSC.
D.C. Code § 16-2825 Two separate Early Mediation Forms are available. Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator from the multi-door
medical malpractice mediator roster; the second form is to be used for early mediation with a private mediator. Plaintiff's
counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov.
Unrepresented plaintiffs who elect not to eFile must either mail the form to the Multi-Door Dispute Resolution Office at,
Suite 2900, 410 E Street, N.W., Washington, DC 20001, or deliver if in person if the Office is open for in-person visits.

A roster of medical malpractice mediators available through the Court's Multi-Door Dispute Resolution Division,
with biographical information about each mediator, can be found at www.dccourts.gov/medmalmediation/mediatorprofiles.
All individuals on the roster are judges or lawyers with at least 10 years of significant experience in medical malpractice
litigation. D.C. Code § 16-2823 (a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code § 16-
2823(b).

The following people are required by D.C. Code § 16-2824 to attend personally the Early Mediation Conference:
(1) all parties; (2) for parties that are not individuals, a representative with settlement authority; (3) in cases involving an
insurance company, a representative of the company with settlement authority; and (4) attorneys representing each party
with primary responsibility for the case.

No later than ten (10) days after the early mediation session has terminated, Plaintiff must eFile with the Court a
report prepared by the mediator, including a private mediator, regarding: (1) attendance; (2) whether a settlement was
reached; or, (3) if a settlement was not reached, any agreements to narrow the scope of the dispute, limit discovery,
facilitate future settlement, hold another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is unrepresented may mail the form to the Civil Actions Branch at [address] or
deliver it in person if the Branch is open for in-person visits. The forms to be used for early mediation reports are available
at www.dccourts. gov/medmalmediation.

Chief Judge Anita M. Josey-Herring

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Case 1:22-CV-008 0 EB oP REUME Maiti Filed psle4se Page 149 of 151

earin ons for Participants

The following instructions are for participants who are scheduled to have cases heard before a Civil Judge
in a Remote Courtroom

(AUDIO ONLY/Dial-in by Phone):

 

Toll 1 (844) 992-4762 or (202) 860-2110, enter the Meeting ID from the attachment followed by
#, press again to enter session.

 

 

: (LAPTOP/ DESKTOP USERS 1):

Open Web Browser in Google Chrome and copy and paste following address from the next page:
https://dccourts. webex.com/meet/XXXXXXXXX

 

}: (LAPTOP/ DESKTOP USERS 2):

Open Web Browser in Google Chrome and copy and paste following address

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IN and follow the CALL-IN prompt window. Use a cell phone or desk phone. You will be heard
clearer if you do not place your phane on SPEAKER. It is very important that you

enter the ACCESS ID # so that your audio is matched with your video.

  

 

Ipad/SMART PHONE/TABLET):

° Go to App Store, Download WebEx App (Cisco WebEx Meetings)

° Sign into the App with your Name and Email Address

° Select Join Meeting

e Enter address from the next page: https://dccourts.webex.com/meet/XXXXXXXXX

° Click join and make sure your microphone is muted and your video is unmuted (if you need to be
° seen). If you only need to speak and do not need to be seen, use the audio only option.

° When you are ready click “Join Meeting”. If the host has not yet started the meeting, you will be

placed in the lobby until the meeting begins.

For Technical Questions or issues Call; {202} 879-1928, Option #2

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Case 1:22-cv-008 12 JEB,, ROSNTPA aufl SEERA? Page 2190 of 252

Public Access for Remote Court Hearings
(Effective August 24, 2020)

The current telephone numbers for all remote hearings are: 202-860-2110 (local) or 844-992-4726 (toll
free). After dialing the number, enter the WebEx Meeting ID as shown below for the courtroom. Please click
a WebEx Direct URL link below to join the hearing online.

Audio and video recording; taking pictures of remote hearings; and sharing the live or recorded remote
hearing by rebroadcasting, live-streaming or otherwise are not allowed

 

Division

Courtroom

Types of Hearings
Scheduled in
Courtroom

Public Access via WebEx

 

WebEx Direct URL

WebEx
Meeting ID

 

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Matters including
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Landlord and Tenant
Matters including Lease
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Landlord and Tenant
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Small Claims Hearings
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